Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 1 of 48
                                           EXHIBIT A




                                                                 DATE FILED: June 4, 2018 2:43 PM
 DISTRICT COURT, LARIMER COUNTY, COLORADO                        FILING ID: C4CE012E520C2
 201 Laporte Avenue, Suite 100                                   CASE NUMBER: 2018CV30552
 Fort Collins, Colorado 80521

 ARLO R. JOHNSTON, an individual
 Plaintiff,

 v.

 STATE FARM MUTUAL AUTOMOBILE INSURANCE
 COMPANY, a foreign corporation,
 Defendant.                                                                 Court Use Only

 Steven B. Ray, #5435
 Catherine S. Hulme #46720                                          Case No. 18CV_____
 STEVE RAY LAW, PLLC
 425 W. Mulberry Street, Suite 112
 Fort Collins, Colorado 80521
 Telephone: (970) 266.1210
 Facsimile: (970) 226.9034                                          Courtroom: ___
 E-mail: steve@steveray.lawyer
          kate@steveray.lawyer


                          COMPLAINT - AUTOMOBILE COLLISION
                          UNDERINSURED MOTORIST INSURANCE

      Plaintiff Arlo R. Johnston by and through his attorneys, Steve Ray Law, PLLC, for his
Complaint against the above-named Defendant State Farm Mutual Automobile Insurance
Company states and alleges as follows:

                            PARTIES, JURISDICTION AND VENUE

      1. Plaintiff Arlo R. Johnston resides in Larimer County, Colorado.

      2. The automobile collision that is the subject of this lawsuit happened in Larimer County,
         Colorado.

      3. The contract at issue in this lawsuit was entered into in Larimer County, Colorado.

      4. Defendant State Farm Mutual Automobile Insurance Company is a foreign corporation
         and insurance company that at all times relevant to this claim was licensed to do business
Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 2 of 48
                                         EXHIBIT A




      and actively issued policies of automobile insurance in Larimer County, state of
      Colorado.

   5. Venue and jurisdiction are proper in Larimer County, Colorado because the events
      complained of occurred in Larimer County, Plaintiff resides in Larimer County, and
      Defendant State Farm Mutual Automobile Insurance Company is a corporation
      conducting business in Larimer County, Colorado.


                                 GENERAL ALLEGATIONS

   6. At all times material hereto, Plaintiff was insured by the Defendant State Farm Mutual
      Automobile Insurance Company under a contract for automobile insurance for five
      separate vehicles which provides underinsured motorist benefits in the amount of
      $250,000.00 for each vehicle. A copy of a letter from State Farm verifying separate
      coverage in the above amount is attached along with the automobile insurance contract
      (41 pages) insuring all the vehicles. Exhibits A and B respectively.

   7. On 17 September 2016 at approximately 4:05 p.m., Plaintiff Arlo R. Johnston was
      driving his 1997 Ford F-150 pickup (one of the vehicles insured) southbound on the I-25
      Frontage Road from Highway 402 near but north of Johnson's Corner Café.

   8. At the same time and place, Kevin Garrick (deceased) was traveling northbound on the
      same I-25 Frontage Road in an Acura sedan.

   9. Kevin Garrick (deceased) attempted to pass another vehicle that was also northbound on
      the frontage road.

   10. Mr. Garrick was, at the time he attempted to pass, speeding, intoxicated (blood alcohol
       content 0.416), on a hill with a curve, and in a double-yellow no passing zone.

   11. Unaware of Mr. Garrick's actions, Plaintiff continued southbound on the frontage road
       and was struck by Mr. Garrick in a high-speed, violent head-on collision which claimed
       the life of Mr. Garrick and severely injured Plaintiff Arlo Johnston and his wife and
       passenger, Barbara Johnston.

   12. As a result of the collision, Plaintiff Arlo Johnston sustained injuries including but not
       limited to unconsciousness with closed head injury, acute blood loss, pneumothorax,
       lacerated spleen, broken nose and ribs, lumbar traverse process fractures, multiple disk
       trauma with C6 cervical fracture, multiple dislocations and fractures of bones within his
       left foot; and has sustained emotional distress related to his own injuries and witnessing
       the injuries sustained by his wife.




                                                2
Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 3 of 48
                                          EXHIBIT A




   13. At the time of the collision, Plaintiff was seventy-two years of age and an active farmer.
      One of the purposes for he and his wife's trip to Johnson's Corner was to pick up more
      barley seed.

   14. Medical care for Plaintiff Arlo Johnston's injuries has included hospitalization for
       fourteen days in intensive care followed by ten days in-patient rehabilitation. Plaintiff has
       also undergone surgeries and a second collision-related hospitalization for surgical hernia
       repair.

   15. After receiving consent from Defendant State Farm Insurance, a settlement was accepted
       from Progressive Insurance, liability insurer for Kevin Garrick (deceased), in the amount
       of $126,616.71.

   16. Defendant eventually paid to Plaintiff Arlo Johnston’s his damage of then-past medical
       expenses in an amount of $447,627.80 but has failed to pay for the extent of damages
       incurred by Plaintiff.

                              FIRST CAUSE OF ACTION
                Contract Claim for Payment of Uninsured Motorist Benefits

   17. Paragraphs 1 through 16 are incorporated herein.

   18. Plaintiff is legally entitled to collect damages for his injuries, damages and losses from
      Kevin Garrick (deceased).

   19. At the time of accepting the Progressive Insurance liability settlement, Plaintiff's medical
      bills alone exceeded $320,000.00.

   20. Hence, the liable party Kevin Garrick (deceased) was underinsured with respect to
       Plaintiff's injury claim and, was underinsured within the definition of Plaintiff's protection
       from such a condition through his own automobile insurance with Defendant State Farm
       Insurance.

   21. Plaintiff Arlo Johnston was and is a named insured under the insurance contract issued by
      Defendant State Farm Mutual Automobile Insurance Company, attached hereto as Exhibit
      B.

   22. The insurance contract issued by Defendant State Farm Mutual Automobile Insurance
       Company, Exhibit B, obligates it to pay full compensatory damages for Plaintiff’s bodily
       injury that were caused by underinsured motorist Kevin Garrick.

   23. All conditions precedent to the obligations of Defendant State Farm Mutual Automobile
      Insurance Company to pay underinsured motorist benefits have been met.



                                                 3
Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 4 of 48
                                          EXHIBIT A




   24. The parties cannot agree on the value of Plaintiff’s injuries and damages and, hence,
      Plaintiff resorts to the civil courts to make that determination.


                              SECOND CAUSE OF ACTION
          Improper Denial of Claims Pursuant to C.R.S. §10-3-1115 and §10-3-1116

   25. Paragraphs 1 through 24 are incorporated herein.

   26. After delay of paying any underinsured motorist benefit, the legal requirements of
       Colorado Supreme Court case Fisher v. State Farm eventually caused Defendant to pay to
       Plaintiff Arlo Johnston’s his damage of then-past medical expenses in an amount of
       $447,627.80.

   27. Under the State Farm policy, however, Mr. Johnston is entitled, also, to payment of other
       economic losses past and future, noneconomic damages and losses past and future,
       physical impairment past and future, and scarring.

   28. It is the payment of all underinsured motorist benefits that Defendant State Farm
       Insurance Company has unreasonably delayed and denied.

   29. Defendant State Farm Insurance Company’s unreasonable delay and denial of Mr.
      Johnston’s underinsured motorist benefit entitles him to the penalty described in C.R.S.
      §10-3-1116.

   30. Plaintiff through this action is entitled to recover his full past and future economic,
      noneconomic, physical impairment damages, and scarring damages, in an amount to be
      proven at trial.

   WHEREFORE, Plaintiff requests monetary damages in an amount to fairly and justly
   compensate him for past and future injuries and damages, plus statutory pre-judgment
   interest from the date this cause of action accrued, post-judgment interest, and interest as
   otherwise allowed by Colorado law; and other costs associated with Defendant’s delay and
   denial including but not limited to court costs, expenses of litigation, expert witness fees,
   deposition expenses, attorneys’ fees, and statutory and common law damages as allowed, and
   for such other and further relief as the Court may deem just and proper.

      Dated this 4th day of June 2018.

                                            STEVE RAY LAW, PLLC

                                    By:     /s/ Steven B. Ray
                                            Steven B. Ray
                                            Catherine S. Hulme


                                               4
Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 5 of 48
                                EXHIBIT A




Plaintiff’s Address:

707 N. County Road 29
Loveland, Colorado 80537




                                     5
Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 6 of 48
                                EXHIBIT A
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 7 of 48
    73RFECS                                   6/19/2018 5:08:41 PM                 PAGE   13/056   Fax Server
                                                                     EXHIBIT A




     (~.
      \:(jJJ




                                                                                     AStateFamr


                 Please read .lhe policy carefully. If !here is an
                 accident contact your·state Fami-agent or one
                 of our.Claim Offices at once. (See •INSUREO'S
                 DUTIES• In this policy booklet.)




                                                                                  State Farm®
                                                                                  Car Policy
                                                                                  Booklet




                                                                       EXHIBITB


33c1817019136WPS04WLB Received 6/1912018 S:08:40 PM [Eastern Dayllgllt Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 8 of 48
    73RFECS                                         6/19/2018 5:08:41 PM                                     PAGE            14/056                   Fax server
                                                                                    EXHIBIT A




                                                                                      CONTENTS
                        THIS POLICY            ""····-·-••H•..···........_,............ j          Limit..........................._.............................20
                        DEffNJTIO.NS.........._................,...- ............ 4                No:nduplication .............,..................~........          zo
                                                                                                   ~eluslons. ......:...........................................21
                        LIAIJILITY COVE'RAGE ..':'....................... 6                        IfOther~MatoT Vehicle Property
                           Additional Definition ...............,..................6               Damage Coverage Applies:._..............;....;..;.2,
                          .Insuring-A~nt:::..;.....,.................;........; 7                  0ur Pa)lrnent Options ...............................12~
                           Supplemeriie,y J>aymen1s.......................-... 7 PHYSICAL DA~G~<COVERAG,-S ....;2i
                           Llfflfts , ............~.-·......................·-···-·····-·· B       Addition.~·Definitiops................................~_J
                          N~uplicatiori~...,......- ...................- ........ 8
                           ExclusiC>r&S •••••••.•••:.;;..............._....._ ...,........~ •• 8   lnsuri1JgAgreements ...........- -..··-·..•·-22
                           JfOther Liabili.ty Coveiage-Appl_ies......._,.. 9                       Suppl_e01~tary Pay~ts - ~prehe~ .
                                                                                                   sJve·c ov~e and Co11Isloi1 Cm'.enme .....24
                           ~equired Ouf-of.Statc·LJabil~ Cov~c lJ                                  Limi~ and 1..oss·senlement-Coinp,dlen• .
                          Financial Responsibil_ity Certjfication....... l 1                       slve Cove. .e arid C-ollision Coverage',.....25
                        MEDICAL PAYMENTS COWRAGL., 11                                              l,.lmits- Car·Rental and Travel
                          Addltionar Definitions;.......'....................._u                  _Expens~irCoverage _....,.........,..........;..;...... 26"
                          lnsutjng Agrceinent~•...•i.....          1......................   12   ·Noridupllcatfl;>n •.~..........................- .......... 26
                                                                                                   Exclusions-·................................................26·
                         -~er'minlng Medi~ ExpC11$CS ·- -..,-..., ti                               lfOthet  Physical Damage Coverage or ·.
                          A_rb~tntlon:-...,:-,~•..:..··;:·........,.......~............ 12         Simil~r'"Covera,ge-Applies......~.,.....,..-.-21
                          Ltm1J-••.-.................,.........-.......................... 13
                                                                                                   F i ~ Vehicle .._.........•··:-:-··•-•.....~...- ...2~
                         ·N9nduplicitlon·...........................- ..,--... 13 . :Our..              Payment Options ........................- .......,29·
                          ~Clusfons.~···;;;..~..~.,·."••·-·..••·-···~·:...;..._.,..13
     &..                  lfQ(her fvtcdictl Payments Covtrage Qr                                 PEATH, DISMJ.M B ~ AND.                                           .
     \!£}                 s1m11ar Vehicle Insurance Applies __ ,.... 14: LOSSOF:SIGHTCOVERACE-.............30
                          Our P~ymeni QptioqS..._........._........-....- IS ·                    Additj~ P.efi~itton .;i~•...;.......- - - · -..3~
                      . timNS~l>-MO'ttiR ~~IQ.£                                                   J~u~g Agteemtnt.....~-·.....,;...,._..,J ... . J~-
                       COVERACE...;_,__.._;_____~.~...........,......_t6                         . ~nefit,.••;.............-.,.....:.....,...._.....,.,_,.._ 3.o
                                                                                                · El¢1~1iS ~ Death, Olsmembennenl
                       , · Additional Definitions......_.,_.........-..--,. 16
                                                                                                  -~ I,.~ of Si~~~
                      .. Om1rlitgA~§nt._..-f......-s---•---.;...~.... 16                           ~ of~lni&$ Qwerage .......~....-......3I
                          Ccwentio Settlefuent ..................;....~:..... 16                 ·0ur. PayJrit:iit.:op,Uqns-i>eath.
                          Deciding Fauit_and Amount :......:...........:....•J1                 . D.fsn)~~~ and L~.orSl&ht ...
                          ~lmiis ..~~-·-M~...~......~--.....:-.....~............... l7            C g ~ ,mdJ.b$,1 Qf~gs Coverage ..._32
                          Exclusiqns·..................:...._.......:.1.___...... ·1·7
                          lf()lher Unlnsured Meitot Vehicle                    .               LOSSQll' .E~ffi~S-CQVQA~L...3I
                          Ccv,a-age ASJP!ies""........~:....-.",..,..._........ fa              ~idonal Definld~.-....._.,,_..............._.._.l l
                          Our Paym~t Opd~...~..._..........._ ..... 18                            l~riog Agreemeilt ...................;...............-3 I
                       lJNINSURED MOTOR.VEHICLE                                                 · Llmit...__,..........._..._       ..........~.....,...,..,......jJ
                       ·· ' ··    · ·  · ·   ·                                                                  Peath. Olsmemilenoent
                       PROPERTYDAMAGE·COV!RACE.......:ta                                        . ~Exclusions-~
                                                                                                      .~ofSigh\(;o~~· .
                        ·, Add    _ ee'nni_tions:...:__~•.~.....
                            . ·mona1                         .·................:}8 •l,,UII
                                                                                       .;...s·ofc  .....;..... c...- - .             · 3·1
                          l~1sut(~ Agi_eement..........,._.....................          w     . ...... ,"'";. . ... u~.,l."'6~'.~~-
                                                                                   Our.P1$ym~t ~--~th.                                . . .
                                                                                                                                               • " ~ • - • • •- - •   •




                          Consent to Seal~merit.,......_.- .......1,.. ___·1~       Oismein~nt aitd i,.oss·ofSlgh,_t
                          ~~in& Fal,llt ~ f..~r~f~~.........:...,.-;..,, l9_. .                   pwe:n,ge.~ ~ o('~mgs ~ .,.;3~ .
                                                                             . 2. . . .
                                                                            ~B ,,




                                                                                       EXHIBITS


33c1817019137WPSD4WLB Received 6/1912018 ~:08:40 PM [Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 9 of 48
     73RFECS                                       6/19/2018 5 : 08:41 PM                                         PAGE          15/056                           Fax Se rver
                                                                             EXHIBIT A




      (® .
             .




                       ·INSUR_  ~ n·s DU'i'IE.$.........._...- ..·-·-....;... 32                 Where Coverage Applies............. ,...........;.35
                                            or
                           Notice ti) Vs anAccident or.Loss ..__.., 32                          · Limited Coverawr in Mexico.....,........~...... 36
                          Notice to·Us ofa Claim or Lawsuit .......... 32                        Newly.Ownt;d or Newly Leased Car.........36
                          _Oury to Miuntiun Add~ ofR.ecord _...... 33                            ()hanges to This P-olicy-.,~··-·..-··-·····..... 31
                           •~µted·s Cfo1y to Cooperate •W'rth,u~ :-"· 33 ,                       Premium ·-···-····- ·••. ........._........,............. 37
                          Questionil'!g Under Path ....._,.....;............. 33
                          Other Du~es llnder the Pl,ysJ~                                          No~waJ --······--··--..........................38
                            Damage Coverages,..........,.............'........-.• 34             ·Cancellation.....;••.••.,...._._............,.,.......,.38
                            other·Oulles Under M~cal :Paymcn1s                                   -Asslgnment..........:..................!............... .... 39
                         Coverage. Uninsured Motor. Vehl~le
                         Coverage. Uninsured -Moior Vehicle                                      Banknipecy-or'·lnsolvency of the lnsure·d .~39
                         Property -Damage Covenige Death; Dis--                                  Conc~!me,:it or F~u4 ...............,.,:.........,... 39
                         meinbennenl'and Loss ofSight Coveraie,                                  Qur ,Ught to Recover Our·Payments.;....... 39
                         and Loss ofEivnin~ .Coverage.""............ 34
                                                                                                 Legal Act!ori Againsl Us •.~..:.~...- .."·"··.."· 40·
                      ..QENERAL TERMS,,.-......_.............·.-.- ... 3S                        ·Chol~ of law .............................................4 I
                         When-~         Applic:s.................,'......,..,'js                 Severibllity...................,............................_41


                                                         fflISPQLICY
                       i. This pc;Ucy m1Slsts of:                    ENOORSEMGNTS" on..thc Declara-
                          !l,. tbe ~ t ·~tly 1$!Qed Di:claris11t;~   1ioiis Nr;e, i"rel~ondte following
                                   Page;                                                                 statements:
                              b, . tile policy _bo!)lde,t v~IDA sho',Yil .ori'                           Cl) The nll11!ec!.1~ ~hoWJJ..~ .~ ·
                                 , that ~latjdo_   n.s Page; and ·· .                                                 Decl~ons       ease is th; ~~ 9wn-,
                              f:. any e~~~ts t~ llf)ply, lnclqding
                                                                                                                  er ofyour"'· '                                     ·
                                                                                                         (2) Neither '""·· nor any m~ber of
                                   .~  :~~~U~Tn
                                    wi~ ·any.subs¢(1uent,       ~ of this'
                                                                                                       · . your . .JtollSelic>lcJ has. wtthtn the
                                                                                                           ·p ut ~ years; had either:
                                   poUey,                  .             .             .                 _(a) a l!cemt IO drive; or
                       i.     This' poJicy corilalns _all of~ ~ e.nis                                       (bj !:i vehld~ ~ o n ·
                              between an named Insureds ·woo are                                        . suspended, -revo.~ or ref~.
                              shown. Oil die D~l.ons Page and all
                             ,appli~~:             .                                                  . (3) Yo~! Cll.' Js ~ fqi: pl~we an4
                                                                                                          . 1'u$l~          .   ··. · •
                            . a.   m;"and
                              b.. any ofour ~cs;                                    .: 4; ~11 - ~ Insureds sh,own ~n the Pedara•
                                                                                          l!9M ~ -anc$ all ~UCIUIIS agm by ai:~
                       3.     ~ ~-t o ~ !n s ~ ~cmlir!&.to                             "          .ceptanqe·orth~ P.ollcy .th!ll:         · .
                             the1tml.5
                               , ., . oftl!Js r ·:
                                        . . pq~         .     . ·                                 .a. the siatemeiiis Ir, 3.b. abov~ a're made
                             a. ~ -~           pay~ ~f pmni~ fot the .                                 1,y· such.. named .I~~-'or. ippllcanl
                                   coverages chosen; aiid-                    ·                          and
                                                                                                         ...-
                                                                                                              a,t,'true• and
                                                                                                                       ! "
                                                                                                                                           ..
                                                                                                                                                     .
                                                                                                                                                                         '

                             1>.   ~J~o~to/bticy;aoo~~ ··                                          b. we provide this Ins~ on the ~Is
                                                                                                      those statements are IM:• .
                                                                                                          •1· .   .      :   . '..   - .        .•       •   .   :           .

                                                                                      ·J· .'•

                                                                                  . 9~068
                                                                                                                                           , ..




                                                                             . l:;XHIBIT B


33c1817019138WPSD4WLB Received 611912018 S:08:4d PM [Eastern Oayllght Time]
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 10 of 48
    73RFECS                 6/19/2018 5:08:41 PM PAGE 16/056       Fax Server
                                       EXHIBIT A




      67\·
      k:ft
                                             or
                        5. Your pun:ha$e t~ policr may all9w:                               services.. fo yary. Such other products
                           a. yl)U to purchase or obtain certain c;ov•                      or services must be provided by the
                              erages.. coverage options, ~ g e ~                            $101, Farm. (,:ompanlts ~r by .an pr-
                              ductlbtes. c:Qve~e limits,.or co~erage                        ganl7.atlo~   that "8s entered ·into    Ill)
                              tcnns OJt other p~ycts .fn:!in the State                      agrce~ent or contract wilh ~c:•St~le·
                                Fariit Com.potiles, ~bject lo ~Jr ap-                      . F~rm Comjftllfl~s. The State Far~ .
                                plicable eliglbil;tr rules;:or                               CQlff/H!,lfl'!S do not ~ t U!.e ,ner-
                            b. the,·premium or P.ri(e for other pr~-                         chantabilit;y. fitnes$. qr ql,llllity ·or any
                               ucts or servlc;~ purchased by you, in-          ·,            pr'Qil~t or service offel'ed·or provided
                               cl~ing , rio1.1-lnsu~ pt9(1ucts            or                by 1~ o~tiQn.




                                                                    DJ;~ITIONS
                       We de.fine ~n wo~ ind ~ below for                              a.     ~ycotoidns;
                       use throtighQUM.he policy:, . ~h coverage io-                  h. $pores;          ,
                       ~lude$ ll(fditJonal ~finOlons only for ~ -with
                       u..t.C()Vei'age.   ., - .. cfefi~itio!U.apply tq the           c. ~cn'5;~
                        singular. plural, j)OSSf!SSive. and aijy ocher fonn           d. Bypt9ducts.
                        4.lf ~ : ~ "'14 P ~. Defined W!Xds
                       'l}fld•p ~ !ire pri,lted _in ~Id~ i~li~. .              Newly tfffliilnfll         tar   ~ ~ ~ ·newly·
                        Boin; llffttiJ m~ bodily injuty t<» a pt'non·          01V1J_ed by yo11•. A     carce~ to be 1l '!ewfy ac.
   ·®-                  and sickness, disease, or death that rcs\llts.from
                        it .                   .         .
                                                                               l{iil~,J w. on. the ~~ or:-
                                                                           1. •~ effe¢tivc date. and time .~f a.~licy, .in-
                        Cai means a land motor vehicle .wiih four or          c:lli4ing ~y blnc:!er,.J~~~ ,by us. or" any
                        ~ i;Ylleels, ~~gn~, for         uiie   prim~ly qn,          •· f=~~~fu;~   ~.r!bes the~~ an
                        public roids;·Car~ not include:               ·
                       . 1. Ariy vehicle while .l@ed for . use as a
                                                                               2.     ~~ ~Ftlte 14th ~•~~ar.d11y. 1.m ~i-
                                      or~'' · lses·                                   ~eb' fuU~wi~ the ~ die car- ls &Jiv-
                            dweili
                              .. ~,     . . Pftffl. ,. or ·--- . · ·                  e~ toyo11.                    .        .
                       ·2. AtAA:k-tractot-deslgncd ~ pu!I iny type ~r
                            ~u,er._ ·    · · · · ·· ·                 ·        .lf. 1 n~& ,iqalitd cat Is·not o~se ~f'! , ·
                                                                               fo~          C ~ ~ ! Y C t;OV~t;           9J'. ~Ui~D .:
                                                                               ~~eJ;y,'th~-ot 'aj\y ~er policy. -1i~ thi~ .•·
                                                                               .. 'li¢Y will Ide•Coni tehenslve tov· "e
                                                                               ~ CQ~lbi9n.~~~ fritbahrtr'JJ. t#q':i/:ii
                                                                               tm\ s{lbject •~ a ~~1~,~ or $500. Any ~ov-,
                             ·              ·    fi ·               C!'IF. pi'qvtcjcd .~ A ~ulr.of tpls par:agtiph
                       Fu~gl means .any. type or ~ -qf liuigtu or wi11'apply·t:Jrily until tJ.je .end' Qfthe Sth:~en-
                       fungi and includ~.:      ·                   dar day immediately fol.lowing the ·~~ the
                       t. -Mold;·                                   t!,wty·acqulreil.carbd~liv~dtoyou. ,
                       i:  'M j~·w;· and    .                      'No~1111,ed Car m.~ a., ,cat that t~ in the
                       3. Any offhc follow!ng that are produced or l~wfuJ ~          .~n ofjoil·(!I' any resident rda-,
                            rel~.by tu~gi;                  .       ~ iJl:id, that ~ithet                                                    ••   f, -


                                                                            4
                                                                          9_
                                                                           806EJ .·




                                                                      EXHl1;3tT       a
33c1817019139WPSD4WLB Received 611912018'5:08:40 PM [Eastern Daylight Time)
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 11 of 48
     73RFECS                                      6/19/2018 5:08:41 PM                              PAGE         17/056          Fax Server
                                                                           EXHIBIT A




                         I..   is 011111(4 ~y:                                                 b. that tms a .0"95$ Vehicle ·Weight Rati_ng
                               a.   J"'Uj                                                          of 10,000 pounds or !ess.
                               b. any resident relatwe;                                    ~e,ldenl Rdlllive means a person, 01her than
                                                                                           you, who resides prinuuily with the flrst per-
                               C.   any ~bet peni)R Who ,es~ prim!lf-                      son shown as a named insured on lhe Declara•
                                  ily in J'OUr '1o~hold; or    ·                          ·tions fage and ~ fs:' · ·
                               d. ~ ~mployer 9r any person described
                                  in a., b., or c, above; ~r .                            1. related to that named in5uted or bls or her
                                                                                             ~use by blood. marriage. or .toptlon, i,.1~
                        :2. has been: operated by, ~ted-by, ·or in ,the                       d uding an. unmartjed and .liilemliric!pated
                             possession of:            ·.                                     c~lld <>f-elthei who ~-.8\Va)' at school and
                             a. yoil; or                                                      ot_hefwi_sc mainlaJns his or i!er prim,µy res-
                            .b. any r:,sldtnl rdilllve      .                                 i ~ with·that-named.~ured; or
                            dwing_any-par1 ofcach oftf\c 31 or more 2. a wanl or a f<mer child of that named tn,;
                            constj:utiv~ .days· immediately prior 10 :~     ~ . his <>r her spouse. (Jr a .pomp _d~
                            date of the l!CCi~entor Iii~.                   scribed in I. above;
                        .Octupyl"g rneans in, on, entering. or e~ting.  State F11r,,. Compa,,les means ~ne or more of
                        Our me~ the.Company issuing-this.policy as                        the following:     .
                        shown·on the· Oe!=laraticm,s Page.:                               I. State Fann Mutual.Au«imoblle fnsurance
                       ._own~·! !i means:                                                     ·comsmriy;_
                         !. owned by:                                                 ·.2. State
                                                                                           arid F~      .. C~ualty, C~pany;
                                                                                                 . . Fite~            ,
                        2. regist~ to; O{
                                                                               Subsidiaries or aftlilates ofeither l. -or 2.
                        3. leased, ifthe lease is wrjtten fqr a ~(!cl o( l. -~        --
                            3 t OI'moi_'i: consec~i~e -~ to,
                                                                                                                                 ,




                        fntstrlllii:nresm • H~" who !s not t!,(:tllpj>- lempo,,ary
                                                                         In.
                                                                                       Substi_tu(e-pi;- tn~ ~~'that· ~
                                                                             tlie'ltwfu,I possess!°" of lhe pem,il°9P~~
                        lng:
                                                                         in& h lJJ1d that                 ··
                        I. a motc;,riicd 'w'.ehic:le; or
                                                                         I. repl~ ~ ~ ~<t a ~ tl~ ·whll~
                        2. ·avehitje dcslpd.to be. pulled by. a motor.,       joJlr tar JS out.of use due,to its: .
                            !zed vehJc1e. ;
                        p~,;,_ ~--•11~ hetng. .                                a. breakdown;
                                                                                              ~- R!p&ir;
                        ~~P~ger Car~~~                                                        c, servl~;
                        ~.' ·• "car of the.·prl~e ~ger-tjpe. other                                   .
                                                                                              d. ~ge;_~ -
                                                                                                           '
                               ~a      pi~'kup .lnlck; v~ n:iln_ivan..or wart
                                \lti~ty ~cle._-~~ Pnffl8'11Y to W?'                           e. the~; ·and
                               .~l'SO,!IS and ihear l_uggage; or
                        2.     ii·pidaip ti'ill:k.·van, nilnlvao, ·or spo~ util_ity       2. · neither   1"" nor the puson operating it
                                                                                              own or have~-                            ·
                               yehlcle. ·                              ·
                               L .. ~le noimed for.
                                                                                           Ifa carqualifi~ ~ ~lb a'.11on~et1 ci,r ancj
                                                                                           i. temporor, Sl:fbstitJI~ ~. then it ~: C(!mfd;,:
                                    (I) wholesale; or                                     .ered at~~••stJtu~ caranly.
                                    (2) tetail                                            Tnifld111~
                                    pickup ot deliv~; M,d
                                   __                                                     J. ll~Jer, ,
                                                                                      s
                                                                                9806B




                                                                             EXHll;llT B


33c18170.19140WPS04WLB Received 611912018 ~:08:40 PM [Eastern Daylight Time]
        Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 12 of 48
    73RFECS                                   6/19/2018 5:08:41 PM                           PAGE          18/056           Fax Server
                                                                    EXHIBIT A




                           a. .designed.to ~ pulled by a j,rl~e-;,as- •115 a .n.amed insured. If the spouse resides po•
                               stnger car;                             marily with that ~ insured.
                           b. not.designed to c:any Ml'IDnr.- and       Your Otr ·means· the vehicle shown under
                           c. whil1e not use9 as premises for off~. Car·
                                                                       " YOUR ~.AR" on the.Dec~tlons fage. Your
                                                                             does not .lncrude :a vehJcl.e .that you no
                               store, or displJy purposes; or          lo!1&erown or              lease.             - . .
                       2. a fann implement or fann wagon while Jh ~ar is ~own on the Declarations ~ge un,.
                           b~ng pulled on.pu~ljc·roads by acar.        <Jer·~YOUR CAR''\ and,ou ask us to replact it
                       Us means the Company rssuing this P,Olicy as wlih .a car.newly owned by rou, then the car
                       sho~n ~ the. Oeclarattons Page.                 beina iepl~ced will continue to be considered
                                                                       your. C!!F until the ~iest of.            .
                       We ·~eans ttie <;ompany lssuJng .this policy as
                       shown on the Declaratiom Page.                   I.  the  end of  the 30ih cal~ndar day  immedi-
                                                                                       ate;ly_ fo!lowi,;,g the   4ate the   car newly
                        Yon or Your means' the named insured or                o,vnidby you js delivered to )'!'"l.
                       named foslftds shown on .the Declarations . 2. the~ this pol!cy Is no lo~ger il'!.force; or
                       ~e. rra. named:insurcd ~ o n the C>ec.la-
                       rat1ons,Page is apt:noa, then "JOI!,. Or·..-JOIII°'? j. the datey~u. no l(mger.own or lease: the car
                       Includes the 5J)OU5C of th,e first person shown         being ~!)laced.     ·




                                                            1:,IABILffV COVERAG¢
      CA.
     .V                This policy provi,ct,es:~ial>i.1!~·.¢ov!rige lf"A,,              by an eqlf)loyer to,· a.~        who .resi&!s
                       I~ shown under "SYMBOL_$ " on Che Declar..                       pr:i,tiaiily .lil ywr ho~o,ld, .~. ~ly if
                       tlo115 Page.                                                     $~ ~ Is ~i~ tlWllt4 ro,. hor firm~
                       Additioiiu>er~ition                                             .by ·an e!Jipto~ tc,l, ~ fir,;t pe,so# shoW11
                                                                                        as. a named insured on .lhe Declarations
                       {iuured means:                                                  .Pageofthat        · 'nispo~
                                                                                           ' . . . ,Mffi'...        ··;
                       1. you arid resident ;e/athia for..                 3. -~~ otherpa.wn forh~.or·heruse o(;
                            a. the.o,~hlp..m:aln~anee. or u~ of:                a. :,O.llr~
                               (Jj your car;                                    b, ~ newi,r acquu:ed ci,r; _ -
                               (2) a neillly i,CfJllfnd ~,-, ot.                c.    a/einporory &11bstini1e car; ·or
                                                                                (J; a tralJu,. whiJe a ~ to a :car de•
                               ~3) ~ t~!ir;·aml                                       scribed.in a., b... ore. above:;.        ·
                          b; th~ 111ain~enanc;e ~ use of;                       Such v.ehlcle. m\JS\ be '2SCd within the
                              .(I) a .nori..01PiiiNJc11r; or                   .scope .ofyo111.~nsent: and. ·
                                                                           4. any·~ther'perSon or orga~zaii~ vican~
                               (~) a ~e~i'al'J' su~iute., car;                  ty·lia~.le forlhe use:.or.~ vehicle by an .i .,
                       2. ~ .first ,,,no11 s~~ as a fiarned i ~                s,iffll as defined In ·•., 2.. or 3, above. but
                          on ilie.~llll'Blians ~e·~that ~din-.                  ~ -for ~b~h vicarious lia~llity. This pro-
                          sured,'s. spouse wh~ iesides. pri"11irily ll(fth      vi.s•'!l1 applies on]y If tbe yehl~e.1.$ neither
                          that named insured ror the mairit~e or                o.wtief! 6f! ·J?ot hired ·by, "1at other person
                          ~ .of.a    car .•~
                                         ~~ 0 ~ ~~ Of film~·                    or O'Bllf'.~II~ .            ..    ,     ..
                                                                               ~   .

                                                                         98()68


     ~
   .~




                                                                       EXHIBIT'B

33c18170:19141WPSD4WLB Received 611912018 5:08:40 PM [Eastern Daylight Time)
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 13 of 48
     73RFECS                   6/19/2018 5:08 : 41 PM PAGE 19/056     Fax Server
                                          EXHIBIT A




         ~
         \$'
                        lnsu~ does not Include the United .States of 3. Interest the ln,Ured Is legally liable -to pay
                        America or any of its agendes.           · ·
                        Insuring Ag'tmneut .
                                                                                           -erage:
                                                                                            ~,:-ef.\f:tr!>~~r~i~S:,~
                                                                                                             .
                        i. w,·wm pay dam11gcs an lnsure,d bccpriies                        a. f,erore !I ju'dgment, but _only ~e i~ter-
                           legally liable to pay b e ~ of:                                    est on the lesser of;               ·
                           a. ~ily 1nju,y ~ others; and                                       (I) thatpatt of the ~l!PS ~ pay; or
                           b. 'damage to property                                             (2) this policy's applicable Liability
                           caus~ ~Y an accident that Involves a vehi-·                                Coverage limit; and                 .
                           c:fe (or. wh!ch that {nsured is provided Lia-                    b. after ajudpient: .
                           billty Co~ge-by·th~s policy.
                         l. HT have t~ right co:.
                                                                                                       no
                                                                                            IYl' have 4qiy fo pay iote·rest that' iii:•
                                                                                            trues after 1111. ~eposit in court, pay~ or or-
                               a.. investiga~ negotiate, and settle uy                     _fer_.to ..JJS:Y, the -amount due qrider the
                                    claim•or lawsuit;·                           ·          Jniurbii Agrecmeaf or this ppllcy's {.ia-
                               b. :dcf~cid an Insured in any c!aim or law-·                 bmry Coverage.·-~ ~ have :no duty 10
                                                                                            ~ ~ ~ a~rues on any damage,
                                     sui~ with auomeys chosen by ~s; and                    paid QT pa~le by a _party ·other than the ·,n;.
                               c. · ap~al anr    ~ward or legaf deci.slon                   sure,f91" as; .           .                       ·.
                               for damages pnya!,le 1.q1_d!lf' this policy's 4. Premiums :tot.bon!ls, p~vicled by ,8 com:,
                               ~i11bility CovCIJige.               .                        PM1 -~~~- by U.i(.requ~d .-~ ap~ ·~
                       . Soppl~m,,n~ry·Payments.                                           ·d!:cist0n ~n 'I .Jaw~t ~Qallll.~ an ~~itd..
                                                                                            We havehO duty 10:                                  •
                         We will. pay;· ln udditi!>n to the dam.ages de-
         @..             $Cri~ in the J~rina Aitte:eDJent of this pot:-
                                                                                            a. ~ (or any        botxt   \Vlth a face amount
    ..     :
                         lcy's Li~lity Cov~e; dlQ!ie lte!J!!i !isted                              lhat_~ ~Is .. Ucy'a. ·applicable
                                                                                                  Lla\)mty Cov~~ itt; .
                         be[~w·~ tes~,t ~such ~cident:. : . : .
                         I. A:n.omcy fees for .atfomeys ch¢sen by us fo
                                                                                                                    :r~~
                                                                                            b. 61,n!.sh·:or apply !!JJY ~ :'.ot
                               defend an lnmMI who is.sued for such                         ~ . pay .premiufu~ 1Pr t,Qnds p~~ af'!
                               ~~- Wot!'      ~ave·            to
                                                     no dl!!Y ~y euoiney                        · ~ ~ ~ 1 QI ~                pay.or     oirer to ·
                               f~ lnclln"eQ 'i,fter .wt f.f~t iii court or                        pay, ·the IUI)aim't d~ uncfer the i.r.:.
                               pay _'the· amount due ~ the Im~                                    hit·A,gmmenl of th~ po~ey•s l .labJI..
                              -~ e a t of this policy's Liability Cov-                            ity Covef3ie; arid                      · ··
                               erage;        .     .      .      ,          .        .5, · The f~lfpwiilg C9Sfl ~ e.xp_etUeiJ\' if r.etated
                         2... ·court c~ts ·aw~ by die coun agi.ii,st.                       to and jncwred· after a lawsuit ~ been
                               an liimiid and resultln from that ·art of                    filed ap1nsi'li1t.1nm,v,1:·          · · · ·. ·
                              ·ffie·lawsuh: · ·            g         .      !'.                       ·of
                                                                                            a. L~ Wag~ cir ~ -~ ;·b~--~ l ~iper
                                                                                               ·. lncQrl'.N;, up to $200 (or eacti day'an ln-
                               a. ~J,~ ~ damages piiyable -~der .thi~                            .lU~,l'~ttends,at tnir request: ·
                                    wl.icy's Llabilit)' Coverage; and'                            ( l) an: arbi~on;           ··
                               b. l)gainst whlcb wt defend an lnsuttd
                                 . , with attorneys those~ ti),  "!t '. .                         {2) a inediatfon: ~
                               ~ 'have. ~ duty to pay cou'1 · costs i~ ...
                                                                                                  Q) a trial ofa·-.wsajt;,~ .
                               curred ~     -r.t deposit ira (:(]'\111 c:,r' ~ the .      · b. ~ble ~pen,ses; l~Uff'e4 ~ an
                               ?fllOunt d~ under the waring qree,;                                l/lilire~/' at oo, request o!fier t}tan loss
                               m~f~(this
                                   ; . ..
                                               PQlicy's L!abilltyCoverage;
                                                             .                                    ~f~      .
                                                                                                               ~lacy,
                                                                                                                 .    or°"1er
                                                                                                                        .. ... ittc~~
                                                                                                                                 ·.,. ·.
                                                                                   7                                            '   ~,... .
                                                                                9806,-3




                                                                            -EXHIBITS


33c18170 19142WPSD4WLB Received 6119/2018 S:08:40 PM (Eastern Day light Time)
           Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 14 of 48
     73RFECS                    6/19/2018 5:08:41 PM PAGE 20/056       Fax Server
                                           EXHIBIT A




                                     ·-

       ®
       .
            .
                '




                            Thi: ~ .o.u!ll ofaro,·~f the cQSts·ot expe(!Ses .lti~luaiou
                          1.lsted. Jbove ~ - lire Jncl.ltffif by 'ilri lri- · THER.B IS NO COVERAGE FOR AN IN-
                          suml must· be repon~ . to l!S before ·file SURED .
                          will pay $UCh , ~ costs or ~xpen,ses.                _-     .:
                        Umlts                                                · I. ·Wffl> _INTENTION!'\(f,,Y CAUS:ES BOD,.
                                                                                   ILY INJURY OR DAMAOE TO PROP·
                        The Liability (;over'.age. Omits-for liodlly lidur,,      ERTY;    · ··     ·        · ·
                        ~ shown.on the Pcclanrtlons Page~ "LI-                 2. FOJt BODILY JN)tJRY TO ANY PER-
                        a!>llity Co~ - -~Uy 11\iury U~lill - Eal;h                SON WHo· BOTI-i' RESIDES IN THE
                        ~r.son. EacbAccli:feiu."         .                        SAME HOUSEH'OLDASAND: .




                                                                                                                  .
                                                                                                               ~• ••.
                                                                                                                        ;·,-
                                                                                                                          ,·
                                                                                                                               . .

     :~.
      W -


                                                                       EXHIBIT B

33c18170°19143WPS04WLB Received 6119/2018 S:08:40 PM [Eastern Daylight Time)
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 15 of 48
    73RFECS                                        6/19/2018 5:08:41 PM                                      PAGE                  21/056             Fax Server
                                                                                      EXHIBIT A




      @   ;




                       8,. W.H.ILE :MA(NTftilNJNO OR US.ING A U. FOR LIABILITY .AS~UMED UNDElt
                            VEHICLE IN CONNECTION WITI-1                                           . ANY CONTRAct OR AOllEEMENT:
                            lllAT INS(IRED'S EMPLOYMENT..JN                                         ll. FOR ANY .QRDER Qf RESTlnJTION
                            OR E{llCiAQJIMEN'I: 0~ .ANY J<IND.IN A,                                    ISSUE(j BY A COURT' IN A CRIMINAL
                            CIUtllUS1NES$,. This exclusion does not                                    Pf!~EO.INO OR EQl.-!ITABI.E AC~
                            llflply io:- .  ·         .
                                                                                                       TION,           .
                           a.. you;
                                                                                                    l4. WHlt.$. USING A TRAII.$fl WITH. A
                            b. aey raldmt relative; or                                                    MOTQR V£HICl,E IF THAT INSURED
                           c• . ~Y ~              -~pl~~ or business part~                                IS NOT PR.OVll)Ei:> i.lABILlTY COY-
                               ~or~orb.~ve                ·     ·                                  .      ERAOE 'ey· THIS. POLICY' ·r.OR THE
                                                                                                          O~E OF TI-IAT MOTOR VEHtCLE; ..
                            w~ile majnt•inina . or using ,our car, a
                           n.~11/J Df~lru. ~lP'. ~-·lelJ1jJorary .SIIJs/i-                           15'.·t:oP. nut OWNERSHIP; MAINTE-
                           '!l'e car, or a trailer owned by )'tHI; . .                                . ~i,J.J~' OR ~St; Of AijY VEHICLE-
                                                                                                          WHILE IT IS:    .                .
                       ·9. WHflE THAT rNSURED. :1s VALET
                            ~i\Rl<ING A ~HICLE;:                                      .        .          a. . Off PUBLIC ROADS AND BEING
                       10. \\'HILE MAlNTAINING OR OSING ANY                                               .. P.~PA-~li. FOR,                 :us£(>
                                                                                                                                      IN _PRAC-
                        . . VEHICL~-OTHER.THAN YOUR CAR. A                                                     TICE FOR, OR OPERATED IN ANY
                           N$.WLY A.C,Ql/lR£J) .CAR, _A. TEMPQ-                                            RACJNO CQNTEST;· SP.~ CON,.
                           ~ y . SU~ITUT~ C4.R, OR A                                                       TEST; HILL-CLiMBING 'CONTEST; ·.
                           TRAILER 1N ANY BUSINESS OR OC-                                                    JUMPiNO CONTF.ST, OR AN't.SIM~
                           CUPA1JON . OiJ-t.ER.. THA~. A. qJl                                               .iLAP. CONTEST; Oft            . ..
                           BUSINESS- OR VALeT- PA1tJ<ING.· .This
                           e_xclU:Si~ i:lo,es. ~ _appl)' to I~ mamtcnance                              .b. :ON A TRACK DESIONED PRIMARI-
     ~                     or use ofaprlvat~pasw,pr car;                                  .,                 LY FOR .RAciNo OR 'i:ilOH-SPEED .
     "V!:!J            II. F.OR DAMAGE TO PROPERTY· WHILE                                                    bRJVINCl. This e¢usion <1s.b-> d~
                        .· rt iS: .. . .             . :·                  . . ..                            n~ _iq,s;ty If.the vehtc~ ~ being µserl Jii
                                                                                                          · ·c o~on with • ..- activ.ity ()1her 1ha'ri                   ··
                           a.   ()~"!)-BY;"                                                               - ·i;ac~ I i i ~,diiv!n&; oi.'8fiY type .
                           b. :~ ,t ~~                                                                    of~pei(ll~ dri\1ng; OR .                              .
                           c. lJ~ ~Y_
                                    ;· .          .                                                 16. WHO is•. AN . EMPLOYET: .OF                         THE
                           ~ - ·IN 1lfE C~lm QF; OR                                                 . . ·UNITED .. 'stAt:Es·.bF' AMERfCA OR
                           e.   mNsP()mt> av · ·                                                   . . ANY OF ITS,AOENCIES, IF u:tE.PRO:
                                                                                                       VISIONS · OF· TI-IE ·.FEDERAL TORT .
                            fOU;· A'. ~iDENT RELATIVE, PR                                              CLAIMS~ttAPPLY.                           .          .
                           THE.PERSON WHO IS LEGALLY LIA-
                           Bi..~ F,OR THE P.AMAGE. '.lb~ exclu-- i( ()~er ¼bPity Coverage Applies
                           slo!l ~ not'app1Y .to -~             to-a:      i. If Liability c::bverage provided by. this ·pol~
                           a. mot~ vchil;.lc owliDI liy the employer            icy ~d one or more other ·Car ~icies is~-
                               ,ofJ''!fl' ~r ~ny rt.rldent .T f!/dl~ l.f~h      ~ued_ tcJ YD'! or any ~d<rJ,t ,:eiaHve- l;iy ~e
                                ~aniage .is caWiCd ~Y mi ~~ whi~
                                gpi:~ng 8'\0thcr ~tor vehicle; ··               ai:cidciil.                       -~ =..
                                                                              . Slf,te_ Far,n Colffjlrmla ,u,ply to tJie ~
                                                                                                                                                      ' .
                           b. ~ldenc'e whlie rented-to or·fwefl.fo                                   . ·.a. the Li;ibU(ty ~overaJe limits· of s~h
                                -~~~tt;:~r                    ·: ·     ·          ·                         Mlicies l"ill 1101 be ~ded rog~tu;.r ·,.,
                           c, ~~e: -~                       white - ~ to                       ~            detemiine the inQfl that -~ be JWd;
                                J~~   ... to;Jt!·lnsu~_          . .       ;.             ,. . .           .and
                                                                                                                  1·       •
                                                                                                                               . . .,
                                                                                                                               :
                                                                                                                                                       . ' .        '.
                                                                           .:..   . .                              • , . . ... i""      ••

                                           -'••
                                 . . ...   •·




                                                                                          EXHIBIT B

33c1817019144WPS04WLB Received 6119/2018 5:08:40 PM [Eastern Daylight Time)
        Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 16 of 48
    73RFECS                  6/19/2018 5:08:41 PM PAGE 22/056       Fax Server
                                        EXHIBIT A




                            b. ~ maxi(llum ~ t tliat may.~ pald                      bear.5 .to the sum of such ilinoWll and
                                ftom all such p!>llcles ~blll;Cd iHhe                u,e limits o_fatl other H~llio- co~~
                                sl~le hlghes1 &pPlicabh;c ~mit ('m'.i~               that apply as P.ri~ cov~e.                  ·
                                ed !01.any one ofthe p:,lt~ies; .W~ ·may
                                choose -~ . or mpre polltjcs from.          l, Ex~pt     es    provided in. 2. ~ve;   ~  Liabil-
                                which IO ~e paym,;rtt.                         ity ,Coverage, proviaed by_thi!' policy ap.
                                                                               plies. as cxtess-co~.              .      .
                        2. The ,l,.ia~lllty Covei:a~e proyi~cd by .d)ls
                           pol_lc:y:applies -.a prim:;uy co~ for·the           a. If:
                           o~nenhlp. maintenance,. ·or use of ,our                   (I) tbi$ is tJ:ie only ~ Policy iss~
                           car or atraU,i attached to it                                   ~<> YOII or.any resident relil~ ~
                           iL If:                                                          the state Fqrm (;ompmtles .thaJ
                                                                                           prov~ l,l~b~li.ty Coverage which
                               :(1 ). ~,ill> is the: ~lily Car l>o!lcy ~ d                 appfi~ to, the accident llS ~~ss
                                      tq Y!!IJ or any_raldmt ¢a!/~ _by                     cov~·and                ·
                                      the Stale ,Farm -Cotµpilnl~ ''1aal
                                      P"Qvid~ Liability CC?.ve• which                (2) liability co~ provided by one·
                                      appfies, IQ. tf!e ~~i~ .as primary             · or more sources other- than the
                                      ~verage; and               ·       ·                ,Staie ·Far;m O,ntptin{~ .-~ ap-
                                                                                           plies .as excess coverage for the
                               ·(2) llab.ility coy~ _l)t'Qvlded ~y ~ '                     santt Jci:ideni, .           .      .
                                      or: m~ ,i ; ~ other Utan .the
                                      $1,o~ _Fa,m Com/Hudes also .ap-                then WI! will pay th~ p~_ion of
                                      pli~ as fi!iinary.coverage for the             dam!-&es pa~lc as exciiSS that
                                                                                     applicable limn. bears 10 .the sum of
                                                                                                                                ow.
                                      ~-~ a,cc1den&,           . .
                                                                                   • oiir. BPPli~le :i1mtt ·l!ri4 the 1iini~ ot
                               :men ~ wlli pay !he proportion of                  · all oil,\er liability ~~ge lhat apply
      ~                         ~ •,~';f payt\hl~-~ _ptim&ry, ~ Ol!r                 111 e ~ coverage.             ·'       .. ··
      ~                         app1..:...Ule lilll.it ~ to ttie ,sum :of .
                                our:a ·· liciible limit and the "limits or     b. Ir.
                                air 6t~ iuibllity covera · 'thai · Pl
                                as Pl'fma'ry coverag~·. ·· ~
                                   -        ,   1   ••   •
                                                                       ap Y          (I)  nut~    tf~i(Qrie ~ .foUcy ~ to
                                                                                      . jo,i or ~Y mlde,nt ~/'1t~byJhe.
                            ~. Jt: .
                                                                                          -f13hQ~!~'i~
                                                                                          to accident anxcess covetage;
                                                                                              the
                                                                                          -~~:         '               . '        ..

                                                                                      (2) liability covi#ge p,ovl~..~ ~e
                                                                                       ... ~ - '1'i0re. ~ other· than ffie
                                                                                      . · ~Ille Fm~ C.o,npanles ·also ap,, . ·
                                                                                           plies as extess covena · n r 'the
                                                                                           ~e acciden~                .~     Q ,, .

                                                                                      then -~ •&rite Fa~  ~ will.
                                                                                      ~ the JlrOpOttion of.d~ payable

                                                                                      ~T::t~'t==
                                                                                       ;,;a as' ddeniti.~ in 1, above-beats io
                                                                                       ~sum.of~h amount and the Rml.ts qf
                                                                                      .all other ·uability ~vensge .that ar,p1y f!.S.
                                                                                      - ~ ~-- ·




    ·-n A
     ~·




                                                                      EXHIBIT B

33C1817019145WPSD4WLB Received 6/1912018 5:08:40 PM [Eastern Daylight Time)
      Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 17 of 48
    73RFECS                                     6/19/2018 5:08 : 41 PM                     PAGE       23/056              Fax Server
                                                                    EXHIBIT A




      @
                        Reqalnld Out-o,-state Liab.Uty (:overage                then this policy will ~ interpre.ted lo ~v~
                        If:                                                     ttte minimum !!ability coverage rc;qu1red by
                                                                                such l~w.
                        I. an lnsared is In another state of the Unit-
                            ed ~tales· of America, a territory or ~             This pi:ovislon does· not apply lo Jiatiil~ c~-
                            ~slon or the Ul\ited States. ~f Amerlc.a.           ~ e required by law tor mot« ca,ners of
                            ~ l:llsirlct of-Col~bla, or· any prov!nc;e          ~ngers ot m~tot Cl!t.!'iers ~fpr~.              .
                            or territory ~fCanada, -~ is ·a nl)l!resl-          f'iaaadol Respomiblilty ~rtiflca"°il
                            ~~t becomes subject to lls :motor vehtcte
                            compulsory ·inslli'llnce l!lw, .finan9i~ .re-       W~ this pol,cy Is ce,ti(iec:l under.aj,y law as
                            sponsibility law, or slittllat.Jaw; ·1md            proof of fi.Jture ~ i a l -~~ibility; llJid.
                        -2, thi~ -policy .does p~ provide·at •~ tbc:            wllile required during die policy.. pc~. this
                            minim~ JJabiHty covei:age required by               policy will .c,om.ply wi~ such law 1_0 the.extent
                            ~ell law for su~Jl i'lonresl~t.                     requtr¥



                                               MEQIC~l, PAYMENTS CO~RAGE
                        Thls policy provides Medic'al Pay~, ~ - Such vehicle · must be used within the
                        ~ge If ..(;" Is .shown t i ~ ':'SVt.fflOLS" o.n      SC91lt'OfJ'our_consent.   ··  ·  · ·
                        the. Deelanutoris Page.                         ltled~ a( Expimm m~ ruranable "f!Xi,enm
                        Addltl~a.1bennldoas. ·                          for mtdkJII services.        · · _
                        ln.tUred means:                                         Me4!c_al Seivfcu meanJ~imen~-proce(fures,
                         I. JOU and mit!ent rela!fver.                           products, 8114 otlier'~_ervlc~ that ~:
                            a.  wf)I)e-~pj•./~Jf. · ~                           · 1. nee~ to 11:chic;vc. in_~imu(!'I medtcal
                                   (!)   J_'(i~r~                                     lmpiovem~t fo_
                                                                                                   i-111~·~1;1,,j~,y;
                                   (2). a ntwly acqttfr,ed a,r;          2, rendered by a ~Jtli~·pitivlder;
                                (3) atlinportl(7Plbstltii.U car,·             a. WbQ is I i ~ as a beilthi:are j>rovld•
                               ·(4) a no,Mjwited cor; or                            er If a licen:se. is required.by law: ~ -
                                (5) a ~ralie; whil~ .~ed to ·a ~              b. ·· wi~in the lega!!Y ·a utho~, sc,oPe. of -
                                    described ·in (H, (2), (l), or (4)              l~tb~hhcafe provider's practice;
                                                                                          1
                                                                                                       ~~:r:fut~=-
                                                                                                                  1
                                  · abov~i,_Or ·· ··                 ,                                   t         ~  •       ·


                                                                                      ;~~ :f::
                                                                         3
                           .b. If    strucli as a ;tr1~an by , m~or        ·
                                yehicl~ or any type oflnliler, and     ·      withrn the Un{t~ States of America iis ~~
                       .2.  ·anrother pe('S!Jn "'iiU.e r,ci:tipying:         _propc:iate for tlte ~trr•e~ ofthe bodny'br-''
                            a. '""' car;                                         , Jury,
                            b. . a newlj ~uird qr,;                             4. prirriarl!Y .<feslgned ti> sctve. a.·m~lcaf pµr-
                            c, a ttmpMtll}' silbslitµte ~- ot                      pose; ··                                    ·
                            d; a trallu whlle :attached· to a cor de-           ·s.:~ot experime$l; ~
                                              a..
                               ~~d.iil b., or c. ~ .                            6. noc f o r . ~ purposes.

                                                                           11
                                                                          9$~8

    :_(v..

                                                                       -EXHIBITS

33c1817019146WPSD4WLB Received &119120 18 5 :08:40-PM (Eastern Daylight Time)
              Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 18 of 48
    73RFECS                                         6/19/2018 5:08:41 PM                      PAGE       24/056            Fax Server
                                                                           EXHIBIT A




    ..   ©.
                             Ru:101,!lbltt Expenm mean the IO\vest one of I. oi,Jaln a~ ~e:
                             the followingchatgt!$:                              .a. _utilization ~vi~;
                             I. The usual and customaiy fees c~ed by a            b... peer m'ie\\'.S; 'and
                                 majority of healthcare.providers who prp-
                                  vlde •5!mllar medkal servlcd In the geo-        c. ,nedicaJ bill reviews
                                 graphi~ area' I~ which the charges W«e           to detennine if lhe lncurted. c~argc:a ate
                                 Incurred;                                        nttdltDI.~
                             2. The.fee sp1;eUied In any fee schedule:        2. use a medic:&I examination of lhe Insured
                                 a. applicable to medi~I payments tover--         IQ det~nnlne if:
                                      age, ·no~fauh coverage, or personal in-     a. the bodUy llf}uiy was caused by a mo•
                                     J!UY &)rO.tection cove• included in                tor vehicle accident; and               '
                                      motor v~li:l!! Jia\!ili~ policies ~t:4
                                      m  the state where medlcaJ·sem.ca ate.
                                      proyt4ed; and .                    . ..
                                                                                  t,. ~ ~             - incurred ate medlfal q.._
                                                                                       _pensa; and
                                  b. as ~bed or auihqrized.(>y the law J. enter lnta • contracrwllh a third· party that
                                     -of the state w~ mtdlcafsenlces are          Ni,s 8'l ~ellt with the blSftr_td':s
                                     . ' lded·
                                      pr,ov . ·'
                                                                            •     ~althcare p,rov1du to ~me (ees ~ cfe..
                                                                                  tennincd by that a,gteemtnt.
                                                         to
                             3. Th.e f~ agreed by bo~ the illsured'I_
                                                                                  -Arbitration
                                   beaJthcare provI4et ~ u.r, or
                              4. ..The fees, agreed upon betwecn the 1n~ I• If tll~re il! , a ~isagreenjetat as lo \ViteIher
                                   :su,:~~ liealtlicanfprovi~~flind a, third par-       incurred clwics ~ ,,,._t!!cal apt~.
                                   ty when ~ •hii~ a co~~• with such tl)i~              "1en_ the di~ll'!a:!t wilf be ~~.l\lecl'by
                                   party.                . :                 .          arbitr~~on upon written req~ or the 111!-
         Pl\                                                                            mtttlor u. · . ·         ·                .·
     -~                       l~ring A_gminent
                                 WewUlpay:
                                                                                   2. ' Tho lii'bitration will take place ·1n the~-
                                                                                  .. - ty 'In ~h:h t):ie -~ ~f¢ i'esld~-unl~ th¢ '
                                :J ,. -mtdl_~I q,tns~·~          beca~ of 61N/- · parti~~gr¢.e toanolher r9C8ilon.
                             ·.. lly ln}ary that is $ustail'!ed tiy ari. /,nslir~
                                       ~ ~ b y " JnQ~t ~ Jcle icc~em If:               '{p_e:la~~}lnd we_\filleai;h ~ a. ~m-
                                                                                       peterit arbiltajot. ~ -two arbltratqrs wilt
                                       a: thal-lmilrtt/ is nrs1 rovided· rncmical
                                          smlds wtthio one ~ear linnt~la(ciy
                                      f9llowing the .4ale of tf!e accident; 1111d
                                                                                                    '°
                                                                                       select a lhird com~ arbitrator. If~
                                                                                     .are ti_nable agree on. ihe' ihir(fartiittator
                                                                                      · within 30 dajs.; ·then either the IHS1intil or
                                  b. such·m~d/~/ ~ are for met!Jtat                      i...e ~ pe~ a coui(lhat twjur&'di~.on
                                     suvtca·lhi.1 arc provided within three             ~ ~~ ~ ~h:d aibltrator.
                                      years {mniedlately .followlnJ lht ciat~            Each party will·pay the ~ of Its own at•
                                       o(th;e accident; imd,                             b~tor; a t t ~ and expert wit n ~,as
                              2. funeral ~        - ii:u:wred for , an (IWlrd            well·as any .other ~es. inc~ by ihat-
                                 who. !fies within th1eC years immediately               pany. Both :parties Will. share eq\J81IY ·ttie
                                 follow1n& Jbe dale of a molor vehicle_accJ..           -~ of.Jhe tftltd•mbi~lpr.              ·
                                 dent'If di~'dqth Is • .direct .resul_tc;r~,.
                               . (i!)u;,~n~ in.~acclden~                            l. The mi,lb'alo,s -s{wi ·pnly ~ecide ~hejlier
                                                                                         Incurred~ are·ml!dkill ~ 'Ar-
                              Di!lermln~g ..,.edlcai -~                                  bitnllOri.shall ·.have no al!th9rity 10 de:clde
                              We ~ve ·t1_1e right. to:                                  .a!D' other CJuesdons or-~t, 4ecide a,ny
                                              '

               .. ··-·~- '




          '                                                                 !=XHlijIT B

33c181701 9147WPSD4WLB Received 6I19l2018'S: 08:40 PM [Eastern Daylight Time)
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 19 of 48
     73RFECS                                        6/19/2018 5:08:41 PM                    PAGE       25/056           Fax Server
                                                                   EXHIBIT A




       17\
       '61
                            q~lons c;,r Jaw, or conduct arbitration on a    pot!cy Issued .by the.Stali! Farm Compa-
                            class-wide er chm-representative basis.         nies to J'OII or any ttSIJ/tnt relative; or
                         4. A written ~ecislon t~at is bolh agMCd u~n 2. by ~ on _behal_f or a party who Is legally
                            by and slgned·by- any two arbitrators, and      liable for the lnRl_rtd'6_ bblfll1 ln]u~.
                            that also .contains an explanation of how ExclW!~
                            they nnived at their ~lsion, will_be bl*-
                            i!l& !>11:                                   THERE IS NO COVERAGE FOR AN JN.
                                                                         SURED: .             .          .              .
                               a.   _,,s;
                               b. the IIWtrid;                      ..           1. WHO IS ST~UGK A_S A. PEDESJ'RIAN
                                                                                    BY.A MOTOR VEHICLE, OWNM B'f .
                               c.- iir!Y assig~ of the in~red; and                  t'HAT'' JNSU~ OR YOU; iF IT IS NOT'
                               d. anypu,_iJn_ w .otgllli~ti~_n wi.th whom             YQUR CAR OR A J\'~WLYA~QlllRBD
                                   Ole .lnsrffff. ~pn;nly or . 1.mpUedly              C4R;
                                  .contrilcts for.'mallcaJ tenlcu.               2; IF· ANY WORKERS' COMPENSATION
                                            .                   ·-
                         s.    Subject ·19 I., 2., 3., arid 4. aboye, state         L~W QR ANY SIMILAJt LAW APPLIES
                               c,:,urt rules -governing p~u~ · aJid_-ad-            TO THAT INSURED'$ BODILY INJU..
                              .mission C)f evidence will be used.                     RY;                               .
                                                                                 3  WHO - JS OCCllPYING . A VEHICLE -
                         6. We do not waive 1111.Y of61' ' rights .t,y sut,. ·    • WHILE. IT IS. RENTED TO OR LEASED
                             mitti?g to arbitration. -         . .                  TO OTHERS BYAN INSUREiJ:
                        iumi~
                              .                                                  4. WHO•· IS       OCCUl'YING A va-nd.E
                         'Ole Medical . Payments CoveraF limit l_s
                        shown. on .lt!c l)~al'iltlons Page_wuler "Medi,, ·
                                                                                      WHILE    rr IS HEINO USED TO ·CARRY
                                                                                      PERSONS FOR A CHAROE. This·exdu-
                        cal Payments Coverag~ .,.. ~It ..., ~•~-h Per-:              •sioit. docs
                                                                                              . noi U)'
                                                                                                    ~J,"r to:
                                                                                                        ' .      . ,·
                        ~on". ~i!i l!!hH-is:t~ most ·Wt' wl_lt pay fQr ·             ·IL the~ of a pr~ P.tlSSenller mr oii      a
                        the ~iilcal_ upenm ind. ~ e ~ .                                  share-tlie-exp~m~e basis; or                .
                        cqmbi!'ie(I; ~ py or on 'bcihalfof any one
                        lns,uu 8$ a m.uit ofany one- ~m~ ~                            b. lin ltiSil~d ·while oct:tlf11lni •. R('n-
                                                                                         ownt<( ~-~ a passenger, .. . .. .
                        li:,u oftlie mjmbi:r 9f: , .        . .
                        I, _lit_~~                                               5. Wl.ilLS MAiNT~l.li!INCtOR USING A
                                                                                      VEJUCLE. -JN CONNECTION, Wl-TH
                        1. c~lms niaile;                                               'MiAT IN.$URED'S' ·eMPLOYMM lN
                        3, vela_ic!~ ljtsw'ed; ~ -                                   · bJt EN(J~O~ENT OF. ANY KlNP IN.A
                                                                                       CAR BUSINESS. This exclusion does not.
                        4. veh!cl~ i~vQlved hi the a~i~tnL                             i#lyio:. - .        . . . . ._ . .'
                        ~u\))ect-to:the lfmll sbown·-on lhe OeclaratiOl')S            .a. }'OU;
                        ~ -the J_TI~        we wmPllY for ~ I expens-·
                        es incun:t4 for     an,
                                            one h!suMI is $3,0!)0.          , ·.b. · ~Y ~d~nt relative; or
                                                                                c. ~,. agcntt ·emproyeci or lnz:si~ ~--
                        Noiid~pll~~D                                                 net bf~ or b. above
                        We wm        not
                                    l!IY ariy m6t/1Ctll i!xpaisa. or r~         while '1iafn~nlng          or
                                                                                                        using ;ou_; ~,-_a·               1
                        netil e ~-.un4e(Med"ical Paymenis 'Ct>V•                newly •tied t:ar, a I ~ ~bfd.
                        e~ ~at have already been paid:                          luf~ctir, or.atrallei~liellby j,ou;  ·
                        J. as da:!nages _µa,4er L!ability. Coverage ;0r . 6. WHJl.£ THAT 'INSURED IS VALET
                              · IJnJ~
                                 .  . -.
                                         _Mo~or·Veh1ch;-~vei'.age
                                                               . of any              -p~RkiNGA
                                                                                          .• ....VElilCi.E;·
                                                                                                       .
                                                                                                             . .-
                                                                      .. , -13
                                            •   I                         ~~06~


      /.&·_.
      \si1


                                                                       EXli,IBlT Et

33c1817019148WPSD4WLB,Recelved 6/1912018 5 :0U:40 PM [Eastern Oayllght Time)
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 20 of 48
    73RFECS                   6/19/2018 5:08 : 41 PM PAGE 26/056     Fax Server
                                          EXHIBIT A




                        7. WHlLE MAINTAINJNO .OR. USlNG A                             b. ON A TRACK DESIGNED PR!~R-
                           NON-OWNED ~ IN ANY BUSIN,ESS                                   U..Y ·FOR .RACJNO OR. :HIGH-SPEED
                               ~ 'fui~O~R i~ P~Nt.
                                                                                         DRIVING. This.exclusion (14.b.} docs
                                                                                         not apply If Che veh~te is being used In
                               This .exclusion -doesnot apply .to _lite                  c:onnecilori with an acijvlty other tlW)
                               maintenance or use ofapriwrle; passmgt•·                  racing. high-speed driving. or any ~
                               car; .                                                    ofcompetflive drivµig.
                        8.. WHO IS EITHER QCCt/PYING·                      OR·    I( OtJaer Med.lea) 'hymcnts .C~v,nge. or
                               STRUCK.AS A PEDistRIAN BY A VE-                    Slmilar·Velllde lnimnuice Appiju
                               HlCLE THAT :IS .LOCATED FOR USE.AS
                           ADWELLINGOROTHERPREMISES; .                            I, An.-lnmrtd shall not rtcover·for the same
                                                                                                      un-
                                                                                     ~dlca( exp~nse$ or funeral expenses
                        9. WHO IS STRt,iCK AS A PEDESTRIAN                           der both this coverage and -other medical
                           BY A vru;.rcLE THA,:':     "       payirients.·coveragt or ~lmllar vehicle·.in.:
                           a. IS DESlGNEP ,FOR..USE .PRIMARI~ SUJ'8"CC.
                              LY OFF PUBLJC ROADS WHILE :2. rr Me41cal Payme,nts ~verage Pl'QV~
                                   OFF PUBLIC RO'ADS; OR  .                                by Jlis P91l«:f and oric·or more.other vchi•
                               b. .RUNS ON RAILS OR CRAWLER·                               cle policies issued to .you .or: any .ruldeitt
                                    TR£A~S;·     .                                         relative by the Sla(e. Farm Companies-ap-
                                                                                           ply to the_sam~ bodily lnfttry; then:
                         10. Wl-lOSl: BODILY INJURY RESULTS
                        . FRO!\it WAR OF ANY KIND: .      -.                               a. th.e Medi~ (!ayments Coverage li!Dits
                                                                                                of such policies shall not be a<!d~ io-
                         II. WHOSE ~OPILY INJURY RESULTS                                       _gether IQ -~ ~ne_:the most that may
                               fflOM;                                                            be pal<!; ~a        .
                               a. NucLEt\R REACTION;                                       !>, ·t11e maximwn ~ that may be paid
                               ~: RAQIATION . OR ,R,,\Df9ACTIVE                                  from all such pollc:les ·mmbiried ls the
                                    CONTAMINATION
                                    SQUR{$; PR
                                                            FROM
                                                              . .. .
                                                                           ANY
                                                                                                s~~-ti]~es.t0      aplca=i~.t ~vi_de~
                                                                                                '~        one · Qt niort. ·poiictes · ·K:li
                               c;   WoiA1~c;J~~Ni\1oiR Q ~                                      \11hkh t4> ~e ~yrqent. .               '.
                                    ~AS~· Of RAOl~TiON· FROM.
                                    ANY -NUCLEAR OR RAt>JOAC-
                                    'fl~ DEVIC-£;                      .
                                                                                      3.   ~~~~r_  .~is.
                                                                                            J ,:,:%,awtioess:J~~:~
                                                                                           f~
                                                                                                                         c~~~ prQ_vkf~

                        .12.-'WH.0$1t .Ji'ObfLY.. iNJUlfY ~OJ.rs·                          '!¥hlle-owlJ11lni your CVli' or a- iraller ~t-·
                            .FROM: THE DJSCHAROE OF A PIRE-                                ~hedloit• .-       ·.     ;        .           '
                            .AAAi~ , .' .'             .                                   a. If:
                        13. WHOS~ liQDIJ.f _/{'i./lJ.RY IU;St,LTS                               (I). ~is ~ tb,2',m.liy'vehicle policy , ~
                           :fR,OM EXPOSURE TO Fl/NG/; OR ·                                           ~ J'OU   -~ ~)' ~ rt:lll!ive ·by .,
                       . 14~   ~[e'~ j~Pl7NG .A VSH!~E.                                              the ~iik Faim. C ~ that
                                                                                                     provides :Medtca! -~    Cover.·
                               ~ · ~~NG.-P ~j.R:Ep FOR., U~~- JN                                     age .or otl!er s~j~: ~I~ insur- ,
                                    ~CTIC~ PPR. OR ·pp~RA~P IN
                                    A~ . AACQIQ · CQNTI;sr, .~EEO
                                                                                                    ==~~accident~
                                    c.Q~. ·t llµ.cLJM"ING 'CQN-                                 (2) medical .. ments · ·   oiber
                                    TEST. JUMPING CONTEST, . OR                                 . sbmlai' l:ic1e ~ Qf vidcd
                                    A~ -~•~•kA~ Cbl-f$'t; og    .                               .
                                                                                                     . .        ·.    , ~than
                                                                                                     by .(!11(:~ffl.91'C~            . ".
                                                                                 14
                                                                            ?806B




                                                                           l~XHIBIT B

33c18170.19149WPSD4WLB Recei ved 6/1912018 5: 08:40 PM [Eastern Daylight Time]
                Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 21 of 48
    73RFECS                                   6/19/2018 5:08 : 41 PM                PAGE   27/056   Fax Server
                                                                        EXHIBIT A




     ·@.. .
      '·"
       ·,,: ;., .
      ~~    _




                                                                            . IS
                                                                           98068




                                                                        ·EXHlelTB


3 3C1817019150WPS04WLB Received 6119/2()18 5: 00:40 PM (Eastern Daylight Time]
                Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 22 of 48
     73RFECS                                     6/19/2018 5:08:41 PM                                      PAGE         28/056          Fax Server
                                                                            EXHIBIT A




                        2.   '.l'he ~,¢~ surviving spouse; .                           4.       Apasa~ &l!thorized ti.Oaw to receive such
                                                                                            payRJent. or
                        3. A ~ t oi guaj'dian of~·ln.wted,ifihe
                          . inm~d Is ·, mil'lor 9r an.inco~petenr}W'-                  S.   ~y person or o~l.zaliQn ~ provides
                                                                           . .·             the· ,nedlca/ .sti1Tlces 9i:•fbni,.1 sel".Vlces,




                                                 UNINSURED.MOTOR
                                                            .. . VEHICLE COVERAGE
                                                                             ~-
                                                                                            a.      -~ ned by an ooi,rtd;-and
                                                                                                bf cause(J by an ~idet1, llµit involves ihe
                                                                                                     operatjon. milri~e. Qr ~ of                 et-
                                                                                                     lher art uninsured niotor vchic:le or·an
                       l1Jsurei means:                                                            . linderinsured'r1fotor vehicle       as a
                                                                                                                                       motor
                                                                                                       ·vehicle.
                       1.· fOU;                                                        ~        We will no~ pa>' any ~es:
                       2. rulde11I ttlat(11tt,
                              '    -   ·, . -                  .                                a. that h~ve 8'~ .bee'n paid to or for
                        ~- any ot!Jer pe.i~on, l\'hlle.d¢tfpJ1b1g a vehi--                           !lie lnsund by -~ f1>r ~Y p¢p;, pr 9~
                             cile thatw.or.i.ld qu~ify ~ : ·                                        •ganizi,,tio~ \v~i:i •ia oi' i°rlaY _~ - be)d le·
                             a. ·'yofJ,r, ,:;,/' ~t;: ~ , .~l,oitiil ',tlfl-·                      -gal ly liable for ~ f!t!dJ.ly (tiju_,r, and
                                  . dt!", .                           .'           .            b, ~t flave ill~eady_
                                                                                                                    ~              patd a_s expens,-
                                                       Cf!,,. _ot a ..i,r,wlJ,
                             b. ii "n_twi)' ac,qullttf _                                    .        es under \\(edical· Payn\ei)~ Covi(agc
     17\                                                                                             'of th!$ policy, ~ me4l!!a1 payn,~~
     ~                          ocquli'e4 reqtlJ_tlont,J/ ~hfcl_•"• or                             · cove!'Bge of a@ ·oth~ policyt or other
                             ,C; a "tt~rpoi1uy     m~q,~ c~                                           similar vehicle lnsuranee.. ,       ·             _
                             as ~efl'1~d. in ~finii1()gs. f!'f any. ~lcle                       itte -~Qi~ufed· ;_MQto~ -Yel\ic~ ·       ~.ve~
                             _po/fey providtna .LlablJl(Y- <;i,i,e~gc iss~ -·                                              .,;itionfPage :are:
                                                                                                limits sJ,10~1fon· tl\e ~_l_                                -,
                              ~y ~- ~~~l J?~rm C ~ l a -~ ~-or                                  not ~ea b)' any P{(ymellt$ as descn'bed
                              ~y.ll$ill~I. tt!atJ,e, . $\14:.. :v~b1cle IJ'it,m.'
                             'bo used 'wflhln the '        bf ·-. i' c:~t;
                                                                                                tn ~       °" ~.above.       . ·        .
                             suclt -o~t-11.r#lifl~j,yl:'; • :¥14~.                          . ' .io Setttemui
                                                                                         Consent        ..     ,.       ~




                             U91!d.t o ~-~             -(~ a charge ii ~!)t Qn           The lhsare,t must infotm . us of .a settlement
                             l!JS#ttfl'. ana .                 ·. · -· .                ·~ffer,.. Wany~.p~$Cd -i,y ~I'. ·~ ~~If c)f tb9
                        4. ·a.ny~r.son"nlj~~               t6:~~vet ~p~QSalQ- ' o'wrier of. driver-of die uninsured motor vehicle .
                          .. .JJ -~         _-,·-~-~-- ofb,ud.#zy '""'-" 'o or. .u..ndcrinsifred.motor
                                                                                              '      ,'       .., ·,· vehici   ·· ind
                                                                                                                      ·.,. . ,!it. ,; ,-'tile-lnsuiW
                                                                                                                                            ; ,.    .
                             -an
                              .:
                                  imbreil~
                                          es
                                          ' .•
                                               defined       In
                                                 .: ... ·' i .
                                                          ~
                                                                 1.. 2.,
                                                                      ';"
                                                                          or 3.-abo~
                                                                                 :- . :
                                                                                         must     raq~   o-,,r   -~~~n       - ~~          ~ accept
                                                                                       such-sieUlemi:nt   off'i:r.             .
                       wuma ~~•                                                        .•  . .       ..      .

                        L w~        ~i•t ~i :co.m~ damaps ro~
                        - - _bodlly ln}H,,y ll!'I- histt,ed_,, -Jcgal_ly ~,tilled
                                                                                       l_f~: -
                                                                                       i . c ~ in writing. thc'tqhe I~~-may
                             to collect from the ·o.wner or driver of an                     ·· ... t such settlement
                                                                                            m;cep             ; , ,, - ot'ter.
                                                                                                                          ;·     ·
                                                 or an ~n:..
                             uninsured motor· vehkie                              2,. inform the Insured in __ writtng tm\t !~ do'
                             $~ motor. vehic:li;. . ~ "9dJ/1. Injury                  not ~nt. th.~~ l~,:,4 may not·~-
                             n\ust~_:                             - . ..              cept ~ . settlem~nfof'Jet
                                                                                                   '  .:... ., . . and:
                                                                                                                '  ..
                                                                                                                    '
                                                                                                                         . .
                                                                                                                         ~




                                                                                  · 16 -
                                                                                  98068


 .
     ;~. _,..,·
, , -~
     . :v i;,;,,· .
                 -




                                                                              EXHIBIT B

33c 1817019151WPSD4WLB Received 611912018'5: 08:40 PM [Eastern Daylight Time)
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 23 of 48
     73RFECS                 6/19/2018 5 : 08:41 PM PAGE 29/056     Fax Server
                                        EXHIBIT A




       A
       v ·
                             a. we will make payment 1q-the-msur~d                    amount In excess <>f the available limits
                                   in ari ~aunt .equal lo st,tch settleme!ll          under this ~verage or this policy.
                                 . offer. This Pl!iment rs consid~ a
                                   payment. m~,. by or on behalf of die            Limits
                                  ·owner or driver of the uninsured motor I. 1bc Onlnsurecl Motor ¼hicle Covc~ge
                                   vehicle or underinswtd· motor vetiiclci;-          limits are ~own oi) the Dedatinqns Page
                                   ~ ··             ·         ·         '     ··      ~     -..Uni!IS~ Motor Vehicle Coverage
                             1,. imv_ reeove_ry ·· fh'i
                                                      . ·,..·or on beba
                                                                      . If of.the     - Bodily lrt)qry Llmlt.s. - Eaeh. Person,
                                   ~.:ncr or dri\!Cr ~fthe uninsured motor            Each Accident".
                                   vehlck: ·or:undennsured motor vehlclt              ~ - The most we will pay from this polky
                                   sh~I first b,;, used torepay·us.                       for all·damages resulting from botJl}y
                         Dedditlt Fa1'11' and Amoa·n t                                    btjtt,Y to l!I\Y one ht#rtd. 17ured In
                        ·.1. a. The UUll_., and ,... must-.. ~ to •·L...                  any one.accldei,t, lncl~in- al dam~-
                                             ,cu           ....     ""O"-      IA:        essu.s:c,a.med by.~herlnsurtdsas a-re-
                                   a~ers.
                                   lion!: .
                                             tq ihe fdllawi~g
                                                           .      .
                                                                      two ques-           of:· of th'aUodf'"
                                                                                          ~lt                      1•trli, iS" the lesser
                                                                                                           ..,, lnr.r••~•        .
                                 (I) Is. thelnsi,,_ legaliy .entltlecl to                  (I) the, limit shown- urifer "Each Pet-
                                      ~Uect_· ~o·~pensat(!IY -~        es                      son";·or
                                     f:!e      :t      v~~;~ro~~:!:
                                     sll;J'ed ntoto_rvehicij?
                                                                                           (2) the diflerence between ·the totaJ
                                                                                             . limits       of
                                                                                                          J~gal ..Jiabil(ty  ·cov~
                                 (2) If the· answer to l.a.(ll above ·is                       l~~ and.the lnsu· . t
                                     yes, them what b the amouhi of the                                 .
                                     com~ozy dam. . thiit the In-                     b.   The limi( ~hown     urid~ "Each ·Acc:i•
    ·:@}                             'tµ~ is' l~plfj -~,~eel. to ~lleet
                                     from tlu:fowner or drfver orthe.mi.
                                                                                           dent" is 1he m05I l&ie will P!SY. from this-
                                                                                           P9!_1cY~,.subj~ lo ~ limit_for ~~~
                                      ins~ moioi .vehfole or u ~                           Person   ~   for,• all ~am~, resulting
                                    . sured:~01~·ve~,tcfet · . .. .                        .frpm ~dl/y ln}uf'1 IO two e>t more 'ln-
                                                                                           iaitib ~iljured In the saiI1e ·1µ:eldeitL ·,
                            b,   :{!-
                                    ~lsq~;-.a,on:v~
                                  the Insured sha.11 file a lawsuit, In     a
                                                                                     ; _. . tJ,n~__Motor Vet,icle Cti,o ~
                                                                                 2. these
                                                                                    11tn1ts are '™!··m.~ ~ w111 pay· mm this
                                 ·statt·or federal ·court ihait has Jurisdlc-       pollcytegardlessofthe 11umbctof;_     .
                                 tion,-agninst: ·                                     a:. .liuiimtr,
                                 (i>i(~ ·                                             b. claims ~de;
                                 (2) · the owner ~d .driver of ·the     lin~ .        c. vehicles lr:is~ed; or    .
                                     -: : .'::1       '! v::,;~J,   0
                                                                     ~ ~-·            d.   vehicies i~vol~ in the ~idc:nt.
                                       ··have.conse'nted ·to·li sen!~ of~· 'h~uslon!:
                                         r~ proposed :1,y_ Qr on be!talh:if
                                         such o~·or cfnv~~ Md                  rnw·1s NO COVERA..GE:
                                 ·(3) any other J>¥1Y ~r parties who may· t, fO~ ~N (N$tlRED )VHO•. WITHOut
                                   . ··· be l~•lly· liabl.e (or the ln!IIMI. ~   Ol/R WRrITEN CONSENT;· SETTLES
                                    : d ~. ·                  .         · · .         Wrhl ANY PEitSON OR.ORGANfZA-
                      . 2. R~dl~ of·th~ amo~                  or any _awatd.          Tl9NWJ-l°OMAYBE.LIABUfFOR THE
                            ·htcl\idiilg any judgm.ent ~ -.der~utt.jildg..;    ' BOJ)!LY!NJJJR~:.. . '    .                           . '
                             ment, ~ _   arc: · lloi .otflj~ to. par .ID)'- 2. .TO THE EXTENT'IT S~_~ITS;
                                               '· ' : ! ·                    .11 .                               . .. ,..
                                                                           .18068




                                                                        EXHIBIT B.

33c1817019152WPS04WLB Received 611912018 5 :08:40 PM (Eastern Daylight Time]
             Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 24 of 48
   73RFECS                                   6/19/2018 5:08:41 PM                        PAGE            30/056                Fax server
                                                                      EXHIBIT A




      ~
      ~f


                            a. ANY" WOIUCERS' COMPENSATION                        of damages p,ayable is primary thal Dl!r
                                OR DISABILITY BENEFITS IN-                        limit be,rs to the SUf!1 of.all thi: limits ofaH
                                SURANCE COMPANY;                                  unlnsw-ed motor vehicle coveiageS that
                                                                                  apply 115 primary co'Verqe.             ·
                            b. A SELF-INSURER UNDER. ANY
                                WORK.ERS' COMPENSATJqN LAW,                    2. Except 8$ proyided !I\ hem I. above. the
                                DISA,BILITY BENEt:TfS LAW, OR                     Uninsured .Motor Vehicle Coyerage. pre,:.
                                SIMILAR LAW; Oft                                  vlded by.this poltcy applies as exc~ c~v,.
                            c. ANY GOVERNMENT OR ANY OF-                           _erage.
                               -ITS POLITICAL iSUBDIVJSIONS OR                     If uninsured motor vehic~e ·caverage pro-
                                AOENCIES; . . . .         .                        vidccl. by one or more other,SOl,lrces also
                        3. fOR EXEMPLA~Y DAMAGES; QR                           11ppljes as· excess, coverage for the. same
                                                                                atc~l. the~. 111e W.in piy_ the .p!1)pottion
                       :4.  r~i:t:v~~J~~J.h~I'N1~
                           eRQPEEDiNO OR EQUITABLE AC~
                                                                                of 4antages payable i s ~ ~ 01irlim•
                                                                                it bearS'to the 'sum of all the limits·ofilll
                                                                                uninsured fitotor vehicle coverag~ that a~
                           TIQN.                         .                    ,ply as excess coverage.            ·
                        U Other Unlasured Motor .Vehldc Covera1e J. 'If Uninsured Motor Vehicle C9verage pro•
                        Applies                                               ·vldedby this •pofie)' and one or more·other
                        l. The l,Jnlnsµred Motor Vehicle CQverage              vehlc;I~ policies issued to yoi, or any n:il-
                           provided by this.,policy applies as primary          ilent i'eh!(lve by one 9r more of ,hi# ~att
                           coverage for /Jodi!:, ln},uy ~~.ta:~n,d ~y ail       fl!nif Conrpan{es apply ~o the same 6oilllJ
                           litsllred e1¢~pt wJ.ljle 'JCCl!pylng a motor .       t,,J~, th_ert ,~ ia.!tY· ch!JO$C one or more
                           yehlcleth~t is!                                     _policies from.whlch·tomake payment
     ..                                             ··     ·          .. ·

     @ ..
         .
         .


                           b.
                                t_elatl"" ot
                                """'a     6~it~)'oltqr     a~-
                           a, no~ owned by either you or a taldtal Oar Payment O~•

                                                                    rela-
                                                                           "tr rtuly, at our' optipn, ~~ payment to o~
                                                                           of~oie    o.f the (ollo~nt- '
                                11"'.e•.buJ is r;i~ ~ -n ~ on t~ Dect.. J; ·Th~ hlmrttf;
                                -~i()JIS: Page.   or a ~lite~
                                p~vldi.!1S ,1iml\ijy ~erase ls$ued by
                                                                     policy. Z. The /ns,iil?dt·survMng spo!JS!!;
                                                                                                                            .


                              - lt!e St~ f'aiiti<;:ompan~. · · •;•            3. A ~ or              gumd~
                                                                                                     ~fthe.ln,#INr/, lf°thc:
                                                                             · li1slfttd ls ·a ~ r or an btcompetcnt p_  e-
                           -ttu~-~ mo~ ·vch.i~~~ ~ pn;.
                            vlded, by one or    .,_o·~other $1;)urcts af~
                            applies m ·prim.ruY covq~ ·for ~ si!'le.
                                                                               , . su,,; or,    ,    .
                                                                               4. .A ~ a u ~ by-law-~o rec:ciw: ~:
                           •~cldent. th~ •~ ~vm pay the proportion                  p&)1'1'1Cnt. .                ,.       ·    .· ·



                            UNIN'SURED MOTOR VEHICJ.,,tiPROPERTY.DAMA~E COVJ;AAGl
                      · ~ ·policy ptQvidcs. l , J ~ .Motor Vehjc~. ~dltlo~i I)effi.il~n,s
                        Pn,perty· ~ C ~ if..UI" is shovm li!l- Cowmd Jlefrlcle means· f'Hll' ct!' or a ,itw./y
                       'der "'$YMBQ~• ~ the [)ieclarations.Page. 'Itie ~li~dcar.                  ··
                        ded~e d-. mfics_to ~            -~ ~ Property J;,an,qe means damage~ a C<rRnd
                        cle ~ ~ ~ IS sllown ~ the.. ~~de.. Property ~ t does not include
                        Dc!clantUoqs ~
                                  •
                                                  .. :                   lo.I$ of ~e of$UCh Yehiclc.. , .-   :·        I


                                                                      18
                                                                    98068




                                                                       EXHteffB


33c1817019153WPS04WLB Recelveel 611912018 5:08:40 PM (Eastern Daylight TimeJ
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 25 of 48
     73RFECS                 6/19/2018 5:08:41 PM PAGE 3 1 /056     Fax Server
                                       EXHIBIT A




       (?:)..
       V
                         C/n~red Mot~r Vmlck means a land              motl)r        .e. while located for use as a dwelllrtg or
                         vehicl~:                                                         other p~ises,
                         I. 1he owneJShip, maintenance, and use ofwhich        Ia,;11rf.a1.Agl"fflllcnt.
                             Is:
                                                                               We wlll .pay .c oin~l:iily dam{!FS for prop-.
                             ~ -· not ..lnsµred or ~ed           for
                                                                property       (,:/J' .d(Ullilg~ yoii 811! lega.11)' eiitith;d lo col~
                            , danusge 1'-biJity at lbe .time of the ac~        from the owner·« driver pf an 11,,Pu{lred nµ,-
                                  cident;or     .
                                                                               iar. Pelifcl~. The p!fJperly i!(imilg~ ml.1st be
                             b. · insured or-bQnded for propeny d/lmqe ~used by an accident that involves the opera-
                                  l_lablllty at the time of the accident;1iut ti.on,. maintcnarico, or use o.f an p11in.sutediizo.
                                  (I) ~ Jiml~ • less .than ·requirm by tor vehid,.~ ·'strlla!s a ct>'Pmd ~'ii:le. .
                                      -- the_ f f ~ responslblllty acr of
                                         Colorado; or-·                        ConSC!Dt to S~ement
                                 -(2_) the lnsurin" mpany    · :              _Y~-must l'1fonn ~, or a ~~tlein~ni. offer. If
                                                     o                         any, pi:op,:,sed by or on b.ehalf bf!he O\\'ner or
                                         (a)-denies that_ Its policy provld~ driver of the li11lnsurtd motor i~hu:lt, 1md
                                             liability ~ for coriij)& ,on must re:ques( ~r writJ~m cq'~rit to ac-
                                             satOf)' ..da~~ !},al' resi,llt g:pt·suc;h settlemenN>ffer.
                                             fro~ lbe a~ident: or          ' rt wr.
                                  (b) .is or bec()m~ i~lvl!II~       l. corise{it •Jn· wrili!'lg,- then ,ou may accep.\
                       -2. the owner and dtkier of which remain w,.,    wch.selt~ent offer.
                           ~)Vri. ~ wl)u:b e11~.P'-l!PtriJ da,,,.. 2. lnronn 1.11u in wrlting·that ,ve db 110t con:
                           age;qr                   .
                                                                        ~t. (heayo11 !ti.&Y not accept such S!=itl~
                        3. :lhe o ~ ~ driver of \1/hlc;h are d~ed                       merit off~ t¢d:
                             uninsured u~er Colorado law.             ·
                                                                                        a..     11ilf will make ·payment to )"'" in mi
                         Unf!istJted'ff'/ot(!r Yehic/d does_not i11cludc:                       amount equat to such. scttlenfent offer. .
                         I. 1ou; car, a new!J• acq11frd car, a                                  -nus paymeni u·~tde~ a payment
                            .11a~owned.car, a tempi>ratJ• sulistilate car;                    . ~ ~Y     Of·°"   l>eha)f of 'be-~ m:
                                                                                                a.nd ofthe
                             or                                                                 driver                    IIIDlor
                                                                                                           . unblmffil
                                                                                                              '               . iwhlcle;
                                                                                                                                  '
                       ' 2. any :<>tiler.land motm: vehicle:
                             a, Pl!'n¢ jy. i'cnJeii to. luml$he4 tL?, or                ~- - any recovery Crom 0r'.on ~ t of.the
                                 available fc:,r the regular use W_th/? 1,,_,                owner or·cfriv~~ ofihe.11R!~rid mo-
                                 sured oi thaJ (nsu1'¢'i_$po~e· ~'!ho.re-                    tor Jlehlclt:. shall flrst be used to repay
                                 sides pPmlirily wit" that ·1nsaret1;
                             •. '""!tetf. by, ~n~ tQ, or operated ,by •
                             b.                                                      Oec:ldlnc'Flialt alid Amowat
                                 s~lf~tn'stirer under· any motor vehlc~              f. a.     ·&iu and we must a ~ to lhe answers
                                 financiat i:espoll!iibility· law, a motor                     to the folfowblj two questions: ' ·
                                 tarrier law, or~y similar ~w;                                 (I) Are; 1~ lepJfy ~*1&!4 'lo coJlect
                            c. ottlMd by o; rented to any government                               !=oinpeasa!ory ~amages for propn-
                                ,o , art7 of i_ts pclltlcal subdivisions or                        (Y ,fanuzg~ fronfthe owner'?' dri~
                                 a~•~~             ·                                               erofUieu~!~~dmotor~~/~
                            d. des~gried for'US~ ~marily off public                           .(il Uthe answer ro 1.a.(1) abQv~ Is
                                ~ ~e~.whUe ga public roads;OJ:                                  -, y~ then_what._~ ~ amoW1t qf~
                                                                                19
                                                                          9806Q




                                                                       EXHIBIT B

33c1817019154WPS04WLB Received 6/1912018 5:08:40 PM [Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 26 of 48
    73RFECS                  6/19/2018 5:08 : 41 PM PAGE 32/056     Fax Server
                                         EXHIBIT A




                                     compensatory damages for proper-                       '.ln.e p~l_ing ~petltive price
                                     lJ. dti~!I that you are legally i,i-                   means prices cbarged by a majority ()f
                                     thled to collect from the owner or                     the repair market in the area where 1}\e
                                     driver ofthe ,mlnsureti motQ(·vt-                      covµed ~Ide Is Jo·be repa~ as de-
                                     l~ltkt                                                 t!;rrrilried by ~ survey made by •~. If
                             b. lfthere 1s·:'!o ~ e n t·on·the answer                       ~.~will ideriijfy:sori!e ~cilitles
                                to :~ifher question iri I.a. ~bove, then.                   th111'w1ll perfonn the repairs !!Uhe -pre,.
                                1ou shall fil~ a laWsuit; lP a state· or                    vailing compethive :price; The csti- ·
                                federal court that •h~ jurlsdictio'n,                       mate· wlll •.include ~ sufficient to
                                 :aaainst:                                                  restore the covei-td W!blcle lo ~ pre-.
                                                                                       lnss cQndltion.
                                 .<I> us;                                           You agree with:us that. the repair.estimate
                                 (7) tne owner or .driver _
                                                          pf the unln•              m.y •include ~w. usc4, rctycl~ 81\d re•
                                 · sured mato, ,vehicle unless we                   conditioned ·pal15. Any .of-th~ parts may
                                                         to
                                      have consented a settlen,~t-of-               be either o~gin~ equipment :manufacturer.
                                      fer P.l'QP~ by or 9n ~If of
                                      s,-ich owner or..driver; arid                 parts or non-original equlpm~ m;in~rac-
                                                                                    t11ri=r parts,
                               (3) any .ot_her p!ll1)' or parties who qiay
                                   -be legally ll~b1e tor)1(1Ui' damages.           )tu, ~ agree that replacer,ient slass need·
                                                                                    nc:1t  ~v~ any lrislgnia, logo, na~
                        2. Regardle$S of~ amqunt of :any awanl.                     e,tcftl'ng. or other m~king that w~ on 1he
                           im:Tµding ariy ju4gm~t--or de'f4J.t~ J~g-                repl~ a}ass.
                           ment, ~ .-e -not obJiP,ted t~. pay ~Y
                           amount In excess· of the available limits                The cost to repair-~ ~rt!d •~Ide does
                           under this coverage.ofthis policy~·. ..                  ff!)l Inc~~ any m!ucti~n fo _\be value-of
                                                                                    the- t;01,1Ued wbkli after 'It has been R--
                        -~It                                                        pai~ a. c:qmpan:d to its Ylilue before it
                         The mosnrewUI           par
                                                 ls tf1C lo~~ c,f:
                         1 till: am. to ·· - ·t the a,Pdw/ wdtldtt minus
                                                                                    -~     ~-or -                      .

                          ; . . a . 1fcab"i:t-c1Qetlblei ~ ·Juivtdhi, right.
                                                                                     If the,   repair~ pf~~ni- of a part re-
                                                                                    sults- in betterment cf ihat _.p,rt. then J'IIII
                             efc~ ·one qf the follow·              - ~ d~r-         ri!~~Y fotthe am9~rit-ofil,e bc;riemiilnt:
                             .fulne ttie eost fo ~.. Ythe
                                 , ,.,. ,
                                                                velikle:
                                                       - -,co~ ·,'
                              a. :~ cost ag~ to by fe.~.and u.r;_. ·
                                                                      .
                                                                         2. dlf! actual ~b              n.•~
                                                                                                  ~f the,,,;ovmt/ ~~
                                                                            de minus any appl_lcable dedui::tfble. ··
                              b. A bid or repair estin:tate approved by NoidapUc:itlon


                                                                                                               =:I
                                 11.s;.or    ·
                                                                              w-·~11!'101 pey 1µ1~ Uni~ MQtoi Veh,,-
                            .c. A 'repair estimate that ts written. based cte Property 'Damage C.ov .. · an ·· · ipat.y
                                 upon or adj~ tc:,;                           tfanuir~ -~ .has .afready
                                                                              you: ·
                                                                                                                           for :f:!'or
                                 ( l) tbe   prevail Ing competitive pri~i:;
                                         .f                '•

                                 (2) thc·tower of pln~ess d~ ripali'
                                                                     '    .,
                                                                               I.. bj or Oi;\ behalhf any pmo/1 or mganlza-
                               -· -prfcJng ~~l~hed by an· ~                         tiori ·who is or may be held lewdly liable
                                       inent ,tie·Wave with a third parfy or       ,for~ pmpt!lty, d ~.or .
                                       the palntless den.I ~ price' i,hat 1, u • any:°pc;t,cy of-~i;ie l_ia!,llity insur-
                                     · is compeiitivc hi .the.market; or            ance;'or . .
                                 (3) ac;:o!1ibination of itc;ms (I-) and (l) :3. ~ -any pro~rty or physical damage
                                      •~ye.·                  .-           .        ~            ..                        .
                                                                                                                           ,




                                                                           - 20
                                                                            9806B




33c18170'.t 9155WPSD4WLB Received 6/1912018 5:08 :40 PM [Eastern Oayllght Time]
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 27 of 48
    73RFECS                   6/19/2018 5:08:41 PM PAGE 33/056      Fax Server
                                           EXHIBIT A




                       -Ex~imfons                                                       2. The Uninsured Motor ~~cii:: Propeit}'
                        THERE ·1s:N6 C_OVERAOE:                                            OSmaie. Coveraae provided .by this poU'cy
                                                                                           is cxa:ss to any simUar coverage :that ap-
                        J. FQR A C.OYE1l£l! JIEHICLE JF tou.                                 plies.
                           WJTHOlT(. OUR WR1TTEN (:Q~ENT.                                    ff similar coverage provided by· one or
                             SE:ITLE Wini AHV PERSON OR
                            QR~TION WHO ~y PE LIABLE.                                        mores squrces 9lher· than the S,,ate FarJ!I
                           FOR THEPROPERTYDAAt4GE;                                           Companles·also applies·as excess coverage.
                                                                                            for the same proJJUfl damage, ,then lhe
                        2. FOR PUNITIVE OR EXEMPLARY                                        Stat~ F:.arn, Compatiles-will ·pay the ·pn:i~
                           DAMAGES;OR                                                       portion of Ute'.pi'opU/J damage· payable as
                        3. FOR A'NY ORDER oF ilinru110N                                     excess tha~ the maximum,amount .that may
                             ISSUED BYA.COUIIT IN A CRiMINAL                                be pal~ by the Stale Farm (:ompanles
                             l>RQ(:EEDINO OR EQUITABLE . AC-                                bears to the sum of sutli: amount and ,the
                            TION;                                     .
                        If Ot,i:r Uninsured Mo(or. Vehicle Property
                                                                                                      of
                                                                                            llmil5 all other simiiat coverage that ap-
                                                                                            plies ~ .excess coverage;
                        .J)amige eov,ngc Appllei
                                                                                        0111'. ~ymeat Optiom
                         I• If Uninsured · Motor Vehicle Property
                            Damage Cov~rag~ provided by this policy                     m may, at onr option, make. paym~ Jo.one
                            and one;. or ~ore other po1icfcs issued t~                  or more of the followl~,
                            you by one or more .of th~ $1~ .Fann
                            Oi!'J'ilnl~ apely, then only one policy                     I. fou; or          .
                            appl.~- .•~ w~lt ~I~ -~ policy thAt pays                    2. Ape('to~ ®tf\oriied:by law to receive ~uc;ll
                            ihemost,                                .                       payment



                                                      l>lil'SICJ\L l)AMAG~ CQVERAGU
                        The physlcai damage· Cf>ve:ragcf:are Compre-                    <;m;nprehenslve and ·0 1~ Coverage and .tolll-
                         hensivef Cov_erige, Collision Ccj~ge, ~r--                     ~on (:ovmge Is .shown on the Oecla'rations
                       · P,ficy Roa:d S.;rv.l~. Co'w,taae; and Car Rental               Pap.       ..
                       -~~ 'frav~I ~ Co~~ ·                                             AddltJonl ~flnltlona
                        Th~ 'poltcy·provi~:                                         -C~ Ve/ilcl~.~ s;
                        I. Comprc~nslv1(Cove~_i.f..O";                .                 L y~ur car;
                        2. ~~it:,,r.rehensive and Qlass C~erage .if "O-                 2. e, nnvl)' acqu(redcar,
                             WO :                                                  · ~- ~ tti#poraiy silbstltµte cqr,
                        3: Collisi~ ·C o ~ if"G";                                       4.   a ~~nJw is.d e ~ to be ~unted on.              ,
                        4• ..Emea:aency'~oad-ServiceCoverage.if"l-f';
                                                                   i pickup tnx:k and~ wn on the Declata-,
                        .                       .                  tJo~ Page; . _                          ·
                        s~ Car Renti1l ~ Travel Expenses~ if ' 5~ .• 11on-o
                          ' -~ I'\ .                    .          .    . l~_,;,_·t!d. CM
                                                                                       _. le ii is:             w
                                                                                                                . h
                                                                                                                  ' l




                       . is shown under' "SYMBOLS" on the Oeclara-                           .a. ~ing c;t.,.ve~ by an /iuu~d:.or
                         lions Page. .if a deductibic-:a®)ies to Compre-                      b. 1n-!he.custody of' tin lnsurtd If at the
                         lle:nslve ~ ·then it Is ~ ~ .the                                         timeofthe/os.rit Is:
                        ~~                  - ~ ded~'ble ~ appli!,s to                           .(I)· no~ being driven; or
                              I   ,                                       ·•   .   21
                                                                          . .9806B


   - -~
     ·~




                                                                          ~IBITB


33c18170.1 9156WPSD4WI.B Received 6/19/2018 5:08:40 PM [Eastern Daylight Time] _
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 28 of 48
   73RFECS                                        6/19/2018 5:08:41 PM                           PAGE            34/056                  Fax Server
                                                                          EXHIBIT A




    ·.   @. '
                               (2) being 'driven by a pusaa other                    I. Is 0111ned b)':
                                     than an, ~SUl'ed _
                                                      a ~ being QCCII•                   a. an Insured;
                                    pied b}1 «n /nSfi(d;
                                                                                         b. any other pen_oli who :resi:des prim~•
                       6. a noli..oil'ned troll~r while it is ~ng us~                       ly inyo~,h~~ebol~; or       .
                          by tlJl ln'1,re,t. and
                                                                                         c. !18._emplayer of any person d~bed
                       t, a nali-oumed canq,et while it is ~lng used                             m a•.or b. above; nor                    .
                            bf an Insured;-            ·                 · ·
                                                                                    2. has·~ used by,·ren~ed ~Y, or In the pos-
                       including its. ~ and its equipment duit are ·                    session· of an. ~11ml during any: pan 9f
                       common to the use.of.1he vetucle .as a vehlc_le.                 eacti of ~ 31 ·~r mo~ co~utive.·days
                       However. pans -~ equipme;u oftrallm. and                         im_mediately '"1or fo lhe daie of the )au.
                         campers must ~ seturely fixed as a.pe·rmanent              Non-Oi1me11' Troller means,a tral/u that Is in
                      · part of the tnalle~ of camper.                              the lawful ,.,.;.,~~ion of-an -Insured arid .that
                        ·I>alJj, Rtnta/Cliargern~s ~ sum of:                         neither.'      .....-.:-.        ·        ·     ·               ·
                       ·1; the dall)' rental' raie;                                  I. is 0111ndby:
                       2. mileage ctui,ges; an_4                                         a.   ,an Insured~ .
                      ··3. related taxes,                                                b, -~ny other MTSO" w~ resides prima,ri-
                       l~urt.d ineansyou an_d resident reladv'ts..                          _ly inJOI'' ~sehold; or      ··
                        iA1S.means:                                                      c. an employer of 81\}' person described
                                                                                               Jil a.-o_r b. above; nor
                      :_l. ~i~t,     sudden, ~ --a_i:cI~taJ dam~ ~o; 2.                   _h as~ used .,Y, rent~ b,r, or .in the-~
                            ot
                                                                                           session_of an· ,lnsund du!i.M any part of
                       2. totilJ ~ partial theft of                                      -~ or the 3f or more consecutive. days .
                       a ciJvefed vd1lcle. Lou does ·not lncl!l(leany       immediately
                                                                             .           -
                                                                                           pri9r to the •te 9f the., loss.
                                                                                                           .              .

                       reduction in the value of any CPfffff Pe11lcl;_ •~uriag Agreements
                       ~i~    i~e~t:as~~~              c:ompi,red to i~ i. Com~nslv,_Cov~ge,
                                                                           ,We will pay:
                       Loss:f;imsed By Co/llJlon mearll aI~ c•used:
                       by:                                                  a. fo.r·ioss, ex~ept lens ca~wl bJ• colt#+
                       1. a uW!ffil_whlcle hittin1for being hit by             st;,.n, to I cove,~ !!f!lilclr, and · ·· .· ·
                            8')other veJ)ide oraiiolherobject; "'           b. .transpo.uitiop expenses Incurred by ill
                                                                                lnsared as.a result of the toiaJ thefl- of
                       ~- the.ow.rtumingo(,·~4~~/cj~...                                       Jl'.i!f. cat or a ntpvly tiefil/j~~ t:~ri
                      . (\rrj ,,,_
                        windstorm
                         ' '
                                     ~=
                                   ' haJ
                                         1
                                               tiy rnlssil~ f:afli!l&· ~ects.
                                      ,. ... . fiie     . losio,n. .,.....,."'I~
                                                  ' . exp,         ....-.......;.l,a.·
                                                                                              Tftese .tran_spo~ation-_expenses ar4! ~y- .
                                                                                                 ~bl~:            .       .                              ,'
                        wat¢r, flood,. t~I        or  partial theft. inatli:19us                 (I) during the period tflat:.
                        mischi~f. ~ism, riQt. civil ~f!lmotiQII, or                                  (11) starts ·Oft the dale J'OU report
                      · hi~g of being hii,~Y a ~~ or ~ ·anl,nal ls 114>t                             · ~ ~Ii to us; and                ,.
                        a~ fmuti'II BJ OµJlsion.'
                        J\lo~./)t¥n~d Ca¥, means·. a c;ampe~ de:. ····                               (~) _end$._on ~earli~_of:             .
                        signed to be ffl9Ullled on a pickup tnick that i~ ·                               (i) the date -the vehicle Is rt-
                        in the lawful possession ofan ltisumland that
                        r.ehlier.             ·                  .. ·          .
                                                                                                               t~edjo         j-.,,,,,
                                                                                                                                pt?,Ssesslon
                                                                                                             _J~ -~ dnvable ~it_ion; .
                                                                                 22                                                       :.,   ·.
                                                                               98()69




                                                                            EXHIBIT~

33c18170.19157WPSD4WLB Received 5119/2018 5:08:40 PM (Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 29 of 48
    73RFECS                   6/19/2018 5:08:41 PM PAGE 35/056      Fax Server
                                          EXHIBIT A




                                           (ii) ~ .date•~ offer to pay. for          d. delivery orgas.-olf, baHery,·ortlre l!CC-
                                                :1be lau lr the vehicle has             essary .to ~ .t um a ~vued vdllde _10
                                               .not ye:t"~n ~v~ !)r                     ~~y~g cond_!llon..           ~e.
                                                                                                                   _do not pay 1hc
                                                                                        cost of the sas, oil! biUWy, ortJ~; and
                                           (Ui)the date-~ offer _to f'IY tot
                                              ~ loss JI _tJ1e yehicle Is             e. up .to one hour~_ labor for lock~nliUi
                                              reccr.,ered, bUI Is I : total             seryi\:es tq uplock - ~~-nffll ~lcle I(
                                              I~ as determined by us;                   IIS i).ey ls. lost. stol~ ~ -I ~ inside
                                              and                           ·              ~~lcle.
                                (7) during the p~od that:                       s.   Car R~tiJ and Tra,el EJi)enses Cover--
                                                                                     age                             ·                    ·
                                    (a) starts ottthe.date ihe vehlc~-b
                                         left at· ~ repair (adllty If ~e             ._· Qar aeatal '~ pe~e
                                         st9len ve):llcle is re,poveted, nr~               We-wlll pay the dflly rataicharge I~
                                        ·tu~ ·10 your ·possession I~ a
                                         dnvable condit,ion. and has un-                   C1,1J'ffiJ ~hen J.'Oll rent a car from a·car
                                                                                           IM,slnus whtle J'flllt car or a. ntw(r
                                       _t.epalred damage .that resulted                    acquired car is:
                                         from the total theft; and        -
                                    (~) ends 011 the date the vehicle is                   {1-) not'c,friva~le; or
                                          repaired.          ·-·- ·- · ·                   {2)befnJ repaired .
                                 ~ e t ~ l o n expenses must be                            asa. rcsuh of a lo:ss which would be
                                 rep()ijcd to us berm,: wi will pay such.                :payable ~~r C(jmprehenslve poyei-
                                 iricuh'.ed~             .                               :age or Col!fsion Cov~rage.      - •
                       2. Co~prebe11$~·•nd Chi~ Covernge_                                 w~ wt1t pay this il{lllJJ
                                                                                          i n ~ duri!1& a -period tllat
                                                                                                                           ,e;,,,,,
                                                                                                                          ch~~
                                                                                                                               ·-
      6)\                   "1bJJ toV.eraei ls _the. same_as ~ompn:~n--
      w                    .s,ve_ ~         _with a ·d~cti~le, ~cept
                            the deductible does not apply ff !he I~-is
                                                                                       , ·(i) ~ c,n ~ ~e; '
                                                                                              (~) lhe vetllcle       ~-"°'
                                                                                                                    drivible ~ 11 .
                            ~ ·of_ wind$fllel~ or window- gl~.
                            A.II other.__Cott!prehensive CofflMe provt•                             ·r.esult ·o f~!I /~-or            .
                            sions apply to this CCl~ra_ge.     .                                 (b) the  vehicle _is Mt .at ·if repair
                       J._ CoUisl!]q Covera~              ..                                      · facility If the vehicle is 4riva-
                                                                                                   . b!e; and .
                           ·~ wiJI pay for loa CtJIISfliJ'by colllsum to
                            a:;ovire(I l'ehlt:J-_,            ·                            (2) erii:ls on the earlies( of;
                       4, Em,t!Jienc, ~d-Service C~erage                                       (a) the date 'j}ie 'vehicle has beeo.
                          Wt ,~U pay the ftur·cost Incurred by an ln-
                                                                                                 · -·~   ; ··· · ptacild··
                                                                                                     · 'redorre    . •, . .
                           -s,,,,1/C<;m .                          '                             (b) ~ da\e 111i offer to pay'for the
                           .a. -'up to-one hour' of labor to •ir:"li-.cov-                        . los, if~-~lcI.e is rcpalOll>Je
                                 ued t1ellide at the place of Its breaJc.                            bµt -,Ou c ; ~ ~ delay re:-
                                 do~,.                                                               paJr.s; or
                            b. -~ow_ing to ~ ~ ·. repair facility                           · . (c) five ctJys antr ~ off~ to pay
                                 where ~ rq,atrs can·be·inade rr                                 • (~ "1e 1os;,- Iflhc vehicle is: ·
                                 a ~ ~ k l t l s not dri~;
                                                                                                   ' (iJ -~ tota.1 ioss as det~~-
                            c. ·;towing:"i cownd ~hkle out--ora loc:a-                                     ~y ~r, oi                  .
                                ·tlotj whcte it-~ scuddf the vehicle is on
                              · or iffl!'nediatelf next .l o a pub!_ic road;                         (ii} stol~n and not recc>v.ered.
                                                                           ,_23.
                                                                         ·98068




                                                                       EXHIBIT B -

33C1817019158WPSD4WLB Received G/1912018'5:08:40 PM [Eastern oaytlght Time)
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 30 of 48
    73RFECS                  6/19/2018 5:08 : 41 PM PAGE 36/056     Fax Server
                                         EXHIBIT A




     A
     '<':ii
                                  The amount or a.ny such doll)f ivital S11ppleme11J11ry. Paymenfll - 'Co~p~emlve
                                  charge i?JCurm:I by JlDU must be re- Covera1c 111id:Colfb(on Coverage
                                  ~ to
                                  amount.
                                              u.s
                                               before WI' will J>at s~h rr .the co.ered wltlde sustains lass for which
                                                                                    _Hie      make a· paymeni uncier . Comprehensive
                            b. Travel "Espeues                                          Coverage, or Collision Coverage. ~n -we .wiU
                                  We ~11     pay expenses ~r commercial                 Pl!>' reasonable e ~ incurred to:              ·
                                  trwportation, locf.wlg, and ~eats      tr             l- ·tow the q,.,ererhelilc/1dmmedlllfel)'. after
                                                                                           ·the loss:           _ .              ·
                                 yiJ11r   car or !l nttillJ' acquired au ls
                                  1101 clrivable as a resull of a loss which               a. for. a reasonabie distance from the lo,.
                                  would, be payable under Comprehen-                          cation of the loss to ~ny one r~palr
                                  si_ve Coverage o~ Collisi~ Cove~11ge.                       facility C;h'osen by ari. b~red or the
                                  The km must occur monf than SO                              owner .of the cov.reil w,/11~/t, If the
                                  mi"les rroni :.,011;:b.offle.   we will on!y                cot1tied·vd!lcle Is. n~t drivable; or ·
                                  pay- ~ ~penses If they are In-                           b. to any one repair facility Of commer-
                                  curred by: --        .                                      ~tal ·storage facifity.- nellhcr or whi~h
                                  (I) ~ tnwiell during the period that: ..                        was chosen by an l~:n,rt!tl or the owner
                                                                                                  qf the. co~d. ,yehi~e. ·we will_alsQ
                                      (~) starts after the ,~ occws: ~                            pay   ri:asQnable ·expenses Incurred to
                                      (b} ends on lhe.earlietof:                                  tow t~-cmiired 'P.d1I~~ rot a reilsona•
                                                                                                  ble dlstancc_-:froJ!'i· this 'facility tp aily
                                          (i) the. hiiilied\' arrival ai his                      one r'epalt fatjl!ty chdstt'I by an /;,.
                                               ~ her d~i~~on· h~.     or                          sa_ri;l or, th~ owner of the covtntf ·~
                                                ifthe vehicle.is left behind                      h{cl~, If thi, &1,viml -v~fc/~ ls ()(Jt
      ~
                                                tor ~pairy: qr ·· · ··                            drivable;        - .
    -_'&
                                            (ii) ·the ~ o f ~ ·velt!cle tr          2. st~ ihe' coll'UeJI whfc{~, if.itis not driva•
                                                  the f~ri!d w~ f~ ~                        bie_immediate.tr afte.r _the!~. ·•I~.             '
                                                .P8KS 1>erore c~i!l~rig on                 a. ~Y one ~ ·fac;ility, or c:-ommerclal
                                                 to rus or her dcstiriiition or ·                siotitge .(~11iiy,. nei~i;_ of wh~ was
                                              .. ~Ing honie; and                                -~        by a.n. lil~"n!d j>i' the pwner of
                                  (2) J:lµi, er qny M""1' yt#i -C ~-to                           the t:011C~d vii!lfcle; a,od          - .-
                                   .. · ti-avtl to mri~ :~ whlcle imd                      b. ·any •~- ~ f1,1eiljfy ch~~n by th~
                                      dn\f!! it ~o e~lher the origiµaJ ~                        owner of the··cowimf ~let~ 811d ~
                                      nation ofJOl:lT ~ if th~nehicle                          ·cietcrmine such vehicle is'a total loss.
                                      ~Jeilliehindfo;r repairs.        ·                    If the· ~~e~ 'of 'dte 'coverett-.vdtkle ~~
                                 . - ~ ~nses nilist b e ~-IO;~S•                            serits, ~fl-~ m~y !O(>.V~ ffli9.~~ftl/ ye/11-::
                                  ~tore· we wm pay s~ me~ ~~                                cle ~ our e ~ to J~~ :st~~ costs.
                                  pe~.                                    .                 If the owner of the to.vere·wJ,1c1e docs
                            c.    Rmta:f Car~ Repaymut or Dedoet•                           not consi:rit, tJien w     -~m pay only the st~-
                                                                                            age ·costs that• would have resulted If Jlie
                                  ~~- ~~                  -~        , _                     ha.d moved i~ dam~ cove_;,d ve/llc_le;
                                  We will,pay .dJe ¢omprehensive tciver.;.                 :and          .             ,                          '
                                   age dcdticttblc or. col,Uston cc,verage.. J. ciean up debris 6-orn the MVend 'Hiiide ~
                                 · deduc_tib~e an inff;l(et/ is _required ~~     the :1oca1lon-of. ~ lo,s_; The ff!0,5t w will
                                  ·pay the o~r 9.f ~ ct1r rented from. a         pay to clean .1,1p· •~ det,ris is $250 fl'.>r any·
                                   car.~,µ. .                     --     .. ,   ·oru;l4,D.        -          - ;
                                                                              ;, . 24
                                                                              - -- ~13.

    ~
    w

                                                                              EXHIBIT B


33c1817019159WPSD4WLB Received 6/1912018.5:08:40 PM (Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 31 of 48
    73RFECS                                       6/19/2018 5:08:41 PM , PAGE                                       37/056            Fax Server
                                                                             EXHIBIT A




     ·G»:
                        I.Ja*s and .Loss :se1tle111ent - Comp~eo-                                          recycled, and recoliditionect parts;
                        slve Covertage and CoUhioa Covemge                                                 Any of these parts may be either
                        1. We .have the right to choose to sett1e ·w1th                                    original equipment .manufactu~
                            1ou. or. Jhe ~;wner: o(the ~red. ~hlcle,in                                     paa,s · .or- .!l()n-orlglnal equipment .
                            one.of the followi11Q ways:                                                    manufacl\lrer pa,ts.
                            a. Pay the cost 10 repair-the et111Ut1d ~                                      You ·als() ~ - that repl~ement
                                bli:lt! minus any app!lcable deduc:tible.                                  &lass. ·heed not bavo -any insignia,
                                                                                                           logo, trademarlr, etching, or other
                                (I) ~ have ·1he right tQ choose         of  one                            m&1k,ing that was on .the replaced
                                                                                                           glass.     .    '
                                      the following to detennlne.the cost
                                      to repair the covued vehlc/t!:
                                                                                                     (2)   The .cost to repair the ~ lli-
                                      (a} The cost-agreec1· to by both tf1e                                hfd~ 4oes ~~t. lncJude any redup-
                                           owner. of!he covmd ""1kl, ~                                     tion in the ·value of the ~ffll
                                          'us;                                                             vehfc_le after it ~ l>eeh repaired,
                                      (b) .A bid or repair ~ti.mate                  a~                    as comptred to· Its val\le before it
                                          proved by us; or               ·                                 Wll!>~iged.
                                      (c) A repalr,estimate ·111a1 is writ•                          Cl) .If the   n,pair or replacement of a
                                          t~ b4lle4 upon.or ad.justed t9:                                  ~rt· results In betterment     or  that
                                                                                                      ·    part. tl:ten J'OU or the owner _o f the
                                          (I) , th, prevailing conipetili~c                                ~        ~(cit inust     pay   for ,the
                                           ,. ' price:
                                                 ~-     ..                 .                             am9~(of'the ~ero,en~
                                                                                                     (4) Ifl'!'! and we-•~ ~ wind-
                                          (Ii) the lower' bf pa)ntl~ dent
                                                  ~pair. pri~ing established                             ~ glass will be rep1iied in-
                                                  by   an _.. •.   me!)t :ave       lu!ve             . s~,Qfreplaced: ·    ·
    ·©                                            "'.ith · a ~  party _qr lf'!'
                                                  pahitless dent repair price
                                                                                                b.   Pay the ~~- ~h -value of the
                                                                                                     ~ ~lt~ft inlnus .any        applicable de:
                                                                                                                                               ~
                                                  that is competitive In t_he                        _ductlble;
                                                market; or · '
                                                                                                      (t) The qwnc.r    ~f.
                                                                                                                          tht co~ nhic1~
                                          (iii) !I- ~mblniwon           of (i)       ~ -d                 a,:ic1 iR? must•~ lipQn ~ a.cfual
                                                  (ij)above.        '           '                       - cash value of lhe-covetwd id/de. If
                                          the p~vt!i_l!rig compe1j1ive                                     ~ ls.d.ement asto the iaiJ!al
                                                                                                           ~ V!lfue of tf1e a,vu¢_ veJ,lcle,
                                          ·rin'fuaj:;~,:-
                                              the
                                                          ~-~ ~lt.
                                                 area whei:e :S: co~
                                                                                                           then the d ~ will be ~
                                                                                                           solved by appraisal u~n wri_
                                                                                                                                      tien. re-
                                           ve"1d_e is to·be repat~ as 4e-                                  quest of th~ o_wner or ~ ~ing the
                                         . te,:ynlried'by a surye1, IIJ:8de !>y .                          fol_l owingp~ · · ·
                                         · IJS. Jf ask~ JI!< '.\vtll 1(Jcntify                             (aj The   owner
                                                                                                                      and ive wm,each
                                           some facilities lh!d• -wl!I; per•                                . select a com~·nt ~praiser. ·
                                           fonn the· repairs at i,te' prevall•                             .Cb) the IWQ appraisers will select.
                                           int; COfllpetitiV(: prjcc; , The                                     a ~lrd ~~~ appnuser. tr
                                           estim~e wilt include ~ -suf-                                         theY ~ .• l e •~ agree on 11
                                           ficient lo restore the collded
                                         . veftidr      ,o tts pre-lo~ c:o.ndi~                                 ~lrd appraiser within 30 days,,
                                                                                                                tlicn either the owner or· w.
                                          lion.                                                                · · · · 'iitlon a: court .that· has
                                      You ag,tee with us tha,t the repa~·                                      ~f:twn co ~I~ the tJ:iint
                                     .esd~ ~ii:y- incf~ ~w. ~                               :                  8PIJ!1U~!'-
                                                                                      . :2s ·
                                                                                       9806B


     ~ -
     \ffi)



                                                                                    EXH11;3lT .B

33c1817019160WPSD4WI.B Receive cl 6/19/2018 5:08:40 PM [Eastern Daylight Time)
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 32 of 48
     73RFECS                 6/19/2018 5:08:41 PM PAGE 38/056       Fax Server
                                       EXHIBIT A




       A
       V
                                      (c) Each party will pay the cost- of Llmlts - Car Reatal •nd Trave1· ·~petl.lQ
                                           its own appraiser, artomeys:. Covera1e        ·
                                           and ~ w!tocsses. '1S weU t. Car Reatal Expeue
                                          .as ~y oilier expenses incurred
                                           by that party. aoth parties will   The l_imit for Car Re~tal Expense is shown
                                          -~llare .eqtially the cost of the   on.the Dccl~ions Pa_a~ under "Limit -
                                           th~ appraiser.       ·             Cat Rental Ex~~ .- Eaeh Day, Each
                                      (d) The appnusers _shall ·on.ly de-     Less"..         ·
                                           termine the ·aciual cash· value    a. The limit shown under "Eoch Oay" .Is
                                           of the co_  iier~d vehicle. Ap,,       the. most ,aie wm pay for the dally
                                           praisers .shall have no authofi.       rental cb_argt. Jf .
                                         ·lY to · decide any · .~1her
                                           questions of faci. dccid~ any                             a
                                                                                 _(I) dollar amount. is shown, lheri ,tie
                                           que.stloni. of law, or conducf             will pay tile dally ~tal d,_aige :up
                                          appraisal on a class•wide or                                 to that dolls; ~l,liit; or
                                          class-representative basis. ·                           (2) a perc:e.nmge ainotir)t Is sh9wn,
                                      (e)_A wtjt{en appra~ that is both                                then •~·win pay that perce_11tage of
                                          agreed µpon by and signed by                                 the daizy renfttl cltargl!. .
                                          any two app,aisers. and that                       b. Subject to the ''Each C>ay" limit, =lhe
                                          also conta!ns·an cxpl!Ul8tlon ctf                      _liniit show_r, I_Ulder "Each Loss" Ii the
                                          how '1tey anived at their 11p-                        ·most iv,f will pay :for Car ~erital Ex~
                                          prajsal, wilt be binding on the,                       r;:e inc~ ~ a i'e.1uli_of l!Jiy one.
                                       _ owner
                                           ana w.of the· CVW!t'~-
                                                            · vehfde
                                                                  ··           -2. Travel.Espcia,es
                                      (f). W. do nof waive any of tH.tr·
                                      · · .rights. by ·sub!11i~ting to .an ap-      TM most ~ wfl.i. pay f'or ,:rav~ £xpqnses
                                          praisal.            . .                   intjli:red by ~!.{nsui'¢s as a result or Ami
                                                                                    one Jou Js $500.                     ·          .,...~
                               (2) The damag~ coVff¢ wJdcfj
                                    ·.must be- gWeri tc, ii• in exe!iarige 3. Rentai~pense
                                                                                                Car ..1. Repamitnt·of Declu!!tlblc
                                                                                                              .        .
                                      for Dllr paym~t, ~~ ~ ap
                                      ~ the owner: may k~p It,. If~ ·               The mosJ .twfwill'pay for Rental Car- Re.,
                                   .ownc;r keeps ~ COHriil ""-I~.                   paymenJ of De4,y_tjible ~~ lncurfe4
                               . therfqµ~ p.ayment will b:e reduca.f                a,.·_41 result ofany_otje loss, Is SSOO.
                                   ·by tf:lc..Vall!# of-the ~ ~~ N~duplic:a1k,a      •        ••                  I        •



                                 · aftet~~or                              .
                           c. ·Return 'the stolen covmd veidde to the       its Wt wi!J riOI.pay fot any IDS$ or .expense under
                                                                                    Physical .Damag~ Coverag~ f9r which the
                               Q~{ ~ . pay. &$, ~rilled' iji ·~
                               ~v~ for _any direct, sµdden. and ~ · Insured or o ~ .-of the                           e:o·vmd
                                                                                                                           l'ibicle has
                               cldciJtal' 4amage that resulted froin i,he already -~ived paym~ froq,, or on behalf
                               ~fl                 .                           of~ ll)arty 'Yho is l. .lly l~ble .for the f~·Qr
                       ·z. The mosl ,,. ..will pay for tra115POrtat!Qn .
                                                                               ~pense.
                           ~ • under Com ·rehensive Cov e Exeiulom             . .    . .
                                                                        °i'i!f
                                                                                         ~




                           • SlS'per day iubjeclto an ar,grepte 1t· THERe IS NO COVERAOE F<;)R:
                           ofS1S0 per foa.                         ··     ·
                     . :J. The most 1,e wiU pay loss ~ a n~ I. ANY CQrE~J'J·VEiliCLETHAT IS:
                                                        for
                             owned tia_Uer or a noif-01111,ed camper ls                    a. JNTENTIO~ALLY DAt.fAOEO: <>R :
                             $2$00.                                              .       . ~- :STOLEN
                                                                             -26 .. . .
                                                                            98068




                                                                         EXHIBiT 8

33c18170.19161WPSD4WLB Received 611912018 5:08:40 PM (Eastern oayllghtTlme]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 33 of 48
   73RFECS                   6/19/2018 5:08 : 41 PM PAGE 39/056    Fax Server
                                         EXHIBIT A




      ~
     ~

                             BY OR AT THE .DIRECTION OF AN IN-                           COJIBR£1). ilEHI~l.£ THAT ARE DUE
                             SUR$&.           .                    .                   TO THE EXISTENCE OF FUNGI;
                        2.. ANY. :<:OYER.ED YEH/CLE .'WHJLE IT                     8. L~ TO -ANY. COYE~D ·YEH/CLE
                            rs ~ D TQ . OR Ll;ASED TO                                 "THAT RESULTS FROM:
                            QTHERS av A,N INSURP,-,'                                   a. NUCLEAR REACTION;
                        :t ANY COVERED YEHICLE WHILE. IT                               b, RAt;:,IATION ciit ~QACTIV,::
                            IS..useo TO c·AR.RV PERSONS FOR A                             .COITTAMINATJON FROM ANY
                            CHARGE.· Tills.·exelu,slon .c_l~ not' apply                    SOURCE;OR
                            ta the ~ ofa pr/Vilt~ ptisseiiger ~ar on:a
                             share-:the-expense ~is;.          .       .               c. THE ACCIDENTAL· OR INTEN~
                        '1. ANY CQYERE.D VEHICLE DUE TO:                                   TiONAL DETONATION OF. ' OR
                                                                                        RELEAS~ _OF I\A[)IATION FROM,
                            a. THEFT;                                                   ANY NUCLEAR OR ~lOAC·
                             'i,. CONVERSiO'N;                                          TIVE DEVICEi
                                                                                   9. LOSS TO ANY COVERED JIEHICLE
                             c; .~ MBEZZL~~; OR                                      .THAT ttESUi;rs FROM THE TAIQNO OF ,
                             d. SECRETION.                                               OR . SEIZURE OF- TI-IAT COmRED
                              B.V AN QVSURED, .A CQNSIGNEE, AN                           ~,<:LE BY _ANY OOV~MENTA~
                              AOENT OF A CONSIGNEE. OR A PER-                            AUlllORffV;
                             SON WHO OBTAINS POSSESSION OF                         10. LOSS,' TQ· ANY COVERED veHICLE
                             ti-IE COVERED YElllCi..E Wini ·THE                        tffAT R.eSULTS FROM WAR OF ANY
                             PERMiSSION .OF A .CONSIONEE OR                              KINP;          .
                             A,G~NlQF-AcoNStcn,raE;                        . . .
                                                                                   11.- YOUR CAR \VHl~~SUBJECTTOAN'f:
     @'    .            s.   ~'tfm'WtJQ~'1t' f~ 12uli                                  .a. l.lEN A9~.et-,1ENT;
                             VOLUNTAR_il:.Y. RELJNQl)fSHES PO$-.                         b.. R.ENTAt ~G..~ ENi';
                             ~pSSION OF'THAT~'fOA PE/lSQN                                c.. .LEAS~ AG~EMENT: PR
                             OR .ORGANIZATION tJND~R .AN AC~ .
                             TUAL' .OR· PRESUMED SALES                                   d. SALES AGREEMENT
                           ,i\OREEMENT;'. ·. .        ·          NOT SHOWN dN. THE DECLARA-
                       -6, ANY . COYERED . VEHii:LE io THE ·     T10N.S PAOe;... '.' .    ·     . ·
                            EXTENT O~R ._PAYME?-.IT WOtJLP· 12.. ANY NO,V-O'WNED
                                                                         .       .. -~CAR
                                                                                        . WHlLE
                                                                                            .   IT IS: .
                             BEN!!FIT 4.NY CA~~~R: OR .Qll-l_ER                      '             '•                   "


                             l'.jAJLE£ FOR . Hl~ THAT IS UA8t E                      _a. BEING MA11',iTAINED OR US~D BY


                        1.
                             :~~i~ TQ -$UC~. (:OJ/E!W) VE-
                             ,.   •.   \ t

                             toss to ANY co.VERE~ VElircLE
                                                                                            it f~[~:Jr~k'i~:
                                                                                            OAOED IN ANY WAY. Thi A CAR
                             QUE .TO JWft(Gl." THIS APPL.I ~ RE-                            BUSINESS; QR .
                             OARPLES& .OF WH.F ml~R OJ_t NOT                             b. ~~ n;., A~ ~~SINEs,S -OR QC·
                              THE. ,F(!NG( :R~ULT ·f~O~ A LOSS                              CUPATION OTHER TI-IAN A CAR
                             ·THAT .JS PAYABLE UNDER ANY OF                                 PUS/i'IES$~ Thi.~ ~ltisibJi(11.b,)~
                             ~~:-~~1f1l~i~    ~~if~~                                        not@ty tsraj,n.,_e~ W car;
                                      R.EMEDlATION
                             ANY TESTING OR                                  OF    13. ANY ~;\~T             R J~QLi'tPMFN'r OF
                                                                                                            O_                  .A
                                     O~:··"Am· .AOOiTIONA~
                             f(il':iGi,                                                  COJl£RED VEHICLE           IF· THAT PART
                             CQSJ"S ~QVIREP T.Q. REPAIR ANY                              0~ :EQtJlPMENTi ' ,                . ..




                                                                           -EXHIBITB


33c18170:19162WPSD4WLB Hecelved t:11912018 5:oe:40 PM [Eastern Daylight Time]
        Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 34 of 48
     73RFECS                                   6/19/2018 5 : 08:41 PM                            PAGE        40/056           Fax server
                                                                           EXHIBIT A




                              a. FAILS OR 'I_~ ·pEFSCTIVE; OR .~                        16. REMOVABLE· PRODUCTS USED 'FOR
                              &. · ISDAMAOEDAS A DIRECT RESULT                              STORAGE O_F· AUDIO; VJDEO, OR
                                  ;QF:                .                                     OT..~Jt DATA.. rNCL.UDINO .BUT NOT
                                                                                            LJMJ'.J'EO. TO JAJ,'ES. DISCS, Al-lQ
                                  .(1) \VEAR,.i\ND TeAR;                                    MEMORY CARDS, NOR IS THERE
                                  .(2) F~E.ZlijG; OR-                                       COVERAGE . FOlt '- · 1l¼£ R£CoN-
                                                                                            8TRVCT•ON OF DATA 'CONTAINED
                                  O) OR
                                     MECHANrcAL,. et.ECTIUCAL,
                                         ELECTRONIC" ..·e wi(..                             THE~lr.l;
                                         J)O\VN OR MALFUN(:110N                .        17. ANY ~UJPl,,fEt,IT USED' TO        DETECT
                                                                                    · . OR. INTEru:'ERe WITH SPEED: MEAS-
                                  OF.THAT PART OR EQUIPMENT.                             URING DEVICES;
                             ·Thb exclusion does not apply if the. fosi is           18. A -f:;AMfE~ JN<;:LUQINO IJS rARTS
                             ·the ~ t of the,tr Qfihc covered 11ehlde;                   AND rrs EQUWMENT, lliAT 1$:
                         14. ANY PART OR EQUIPMENT:                                      a. oss·toNeo
                                                                                             A P.ICKUPTRt}CK;
                                                                                                             ro
                                                                                                           BE MoVNitb ON
                                                                                                                ,
                             a. THAT IS NOT lEOAL FOR USE IN
                                  OltON.'tHE ·coSiEJlED .VEHiCU'                         .b. OWNED ~yAN INSURED; AND

                                  rmtr~~
                                  IN THE JUJUSPICTION WHERE
                                                          f/EH/~[$ IS REG·
                                                                                         c. NOT SHOWN ON THE DECLARA-
                                                                                             T1~$ PAOE; OR
                             b.   tli~ l)S~ OF WHICH ·is NOT l,.E-                       ANY COJIERED
                                                                                     19. JS:     ,.  ;   JIEHICLE
                                                                                                            . .   WHILE IT
                                  OAL IN          TffE      1URISDJCTION
                                  WH~tm:ttt~ :con::u;, 'vtHicLE                            11. BE!~Q PREPARED    FOR, _USED IN
                               • JS ~J~'.FE~ Q~~SJ:' 0.f                                        PRACTJCE FO!t,-OR OPERATED JN
                              . HOW OR ·WHERE THAT PART OR
      ·®.                         i~~t~~liJ.J;~~?~                           Olt
                                                                                                ~f~[L~osti~
                                                                                               ·1E$T• . JUfl..1PtNG ·· ·c::om.ES't.
                                                                                                          ott
                             flo~ver, irthere, i$ aJ~l veriiqn 9t the·                          ANY.SIMILAR CONTEST; OR
                             part ~i e:q~lpmi:rit that_ '5-~ . ·. for ~
                             slife_~!)n of lht ~                 ~i:lcJe.,
                                                                       .t ~~
                             we WIii pay th(! cost, tJw •~ would ot.'ter.•
                                                                                 b,             f:Jo\Mi~£~~~.ficit-1~rc;
                                                                                      oitrvtNG. This exctusion (l9:b~) :does ·
                             ,rue ~avc·.pa;,r tQ repair die vc:f'aicle wish           itot appffif tbc vefi.t~le ~ betng used in
                             the legal ~ion of the part o_r cqujp~Cllt.             · ~~ wi~ 11n ·ISC9viv ~~r Ulan
                             We wfil not pay any co,st n~$SBl'Y to mod-               ~•ng. l:u~,1 drivmg. or any type
                             ify ~c ve_bicle fQr .tnstal~tioti ~f the l<;gal          ofc-....it'~
                                                                                       .   '! ..,......._.,. . _
                                                                                                               ng.         . ·
                             ve,slon of~.pari or-eqtiipu,en1; .             ·
                                                                              JfOd,aer Ptiysta11,.Dam1p1:Cov'el'Jlge or Slm-
                         1s. -ri,irut -This ;~ctus~n:4~ nQt lipply it;·                 parCo\lefage·App&s ·                 ··
                             ~ -I~ is caused by inis,il~ @Ding objeds,                  I. · lfihuas.ne /tiu o_r expense is ~able ~
                                ~nn, hail. f,i~ ~ion, mrth-                                   mote:~ one of~ physical damage.~ -
                                  ~~wat;~ ~~
                                  ~              -~~-at.~ hli bt-.a
                                                                                              ages provided by tlils polq, then ~ly the
                                                                                            .c;~ ~ lf!al:MYS tf,Je.Q'iosi.for tfl8l loss
                                                                                             -~ -~      _applies. .       .
                                 .bltdo/.an anhnal;·or. · ·                       . 2. Jf ~ of t~ physical daltiage;cove:_a~
                                  i,..,.          Au tofllsliJri to another
                             b•. ·       -.,.,;.d
                                     - j:a_. . .,.,        ,•  .
                                                                           .
                                                                        .. ' pa
                                                                               rt                          o~e
                                                                                     . pnwid.ed by. thi~ PQl,icy am\     or mofe
                                  ~~e covm.4 ·ff!l!ii:/e. ~~ Im 19                     other' · lides issued to an /,u,,m/ b' the
                                  •      t                     . . · •-•                    ~~-~ ~ l ~·•pplf ~ Uic.~
                                                                                   28
                                                                              9806B




                                                                             EXHJ81T B

. 33c1817019163WPSD4WL8 Received 6/1912018'5:00:40 PM [Eastern Oayllgh't Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 35 of 48
    73RFECS                                   6/19/2018 5:08:41 PM                        PAGE           41/056             Fax Server
                                                                      EXHIBIT A




     0   '
             '




                             loss or expense; then only. one _policy ap-           been cancelled or nonrenewed; The date
                            plies. We will select .a policy that pays the          suc;fr termination is effective wiil be at
                            most for the /ms or expense.            · ··           JeliSf 10 days ~fter the date 111e rnall or elei;•
                        3. The physical damage COVC!~ 'provided                    &ronically    transmit a notice of the le~lna-
                            by this policy apply as primary coverage               tion to the credltn~           ·
                            tor a lost  to'°"' car.             ·               2. lr ~ pay such credi_tof,. then IN are enti_-
                                                                                   tl~ to the , credttor.'s right of recovery
                            lf$'iilar C9vcrage provic!~ by :o ne~~
                            ~ ~ than the-State Fanil Compa--
                                                                                   against you to the -exhW of a14r payment.
                            nla_also app~ies; m piiit_iary e<iverage·for the       Our right of recoveiy does.not Impair Ille
                            5'lnt , . or ~...1hen the ,SJate Farm                  creditoi:•s    right ~o recover the-'full amount
                            Cofilpaitlt!s will Fl~ proporth,n oftlte               of its claim.         '
                            lilii or·~ :paya1,1e .as p!'lmary that 'the Our Poyinent· Options
                            ~mum amount lhat ·may ~ pajd by the
                           Sl4te. F(ITll1_Con,pt,nta beus·to the-sum of t. Comp~~m Coverage
                                                                                                           Covei1'&e a~ Collision
                                                                                                                    ·
                            such amount and the limits of all other simi-
                            lar coverage that ipplies as PJ:lmiey cover-           a. We.may, at Olli opilon, make payment
                            age; ,                                         .              to· one or ,n~ of the followiilg -for
                        4. Except as· provided i1_1 3.-above_-:the physf.:             · loss·  to a covered ,ehide_ tJWIIMi by
                                                                                         J'OU!                          .           .
                            cal damage covetages ·provid~ by this .
                            polic_y apply as e~ce$S'(Overage. ·              ··          {I) You;
                        - _lfjlmU~ :~verag* provided ·by one or                           (2) The rei,ai~r; or
                            ~ SOI)~--~th~ .than. ~ $111(~ Ftirtn                          (3) A credito~ shown on the Declara-
                            Cclnvumla. Q,lso appt.l~ as c~~ cov~                                                             .or
                                                                                            . .1 1~ Pas~ -~ -Ute extt:I'!~ iis h1-
                            for die same,~ or-expense, theinhe s,t~e

                                                                     b~=
                                                                                               1cre,st.                  '
                            Farm C'11itplinlu will pay ~ proportiort
                                th                                                 b. w~ may; at. oar option, ~e payment
                           -~    ~e-~~~a:unf&::a~
                            by .t heStateF~ CtJliipanla~_,o·~ .
                                                                                          to ~ne ·or '1\Dre or ~~e {ol_lo~g (~ .
                                                                                          km·to -~ c(}ll(red wdtkle not armed bj' ·
                            smn of such amount arid lhe· limits or an                   ·/Oti:                     ' . . ._
                            othel:s~iiar cowrap~-appfies as ex~                         ·(I) Ydu;                          ·
                         . c;i)Yenige. ;                    .   .    .
                                                                                         '(2) The owner ofsuch vehl«rle';
                        FJaanced Vehicle
                                                                                         (3)   The rep~rer; ~ .
                        J. lt-'a creditor is-.shown on the Deetarations-                 (4) A   crcdJtor, 'to the extent of its IJi.·
                             Page, Jh~ any C~lv'e Coverage                                     terest.            .     '          '
                             ot _CollisiQh Covmge ptoytded by tbis
                             poll~ applies ·to_·t.h41·~tot~& lntetest !ri •-~      .Em     ·en .. .Ri>ad .Scmcc C~era e aiid
                            Jou.r cai. Coverage, fot t~ creditor'$ in--
                             tere$t_1,·.ooly pr~vided ror ~ 1i;$s that ~           ·a~rlfen~
                                                                                      p· .   and'travei ~pea~-
                                                                                                        . .   ~over~.
                             payable lojo,1;               .                       -~ may, :at our option, .make payment t(!
                             1-iowev~. 1r th!s policy is c_anceUed 'QJ'-hqn-        °"e ~ more ofthe ~!lowing: · ·
                             nmveif, tJicn Wit will provide ' · · :'for
                             ~ m<li!~'s .intmst \lllUI       ,vrCO::
                             creditor tirthe te'rmination ofsuc:h _
                                                                         the
                                                                   covera,e.
                                                                                   "- ~u;
                                                                                       The lnsiirtd
                                                                                   -b. or      .    wbo, incurred the expense;
                                                                                                                         . ...
                            ·11t1s ~ foir ~ moitor's intde$f"ls
                             only ·provided for a ltut- ~ ·would ha\11:            c.    Any_ party· that _provided :the sel'Yice for
                             ~ -~ io you i! dU$ .pol~.~ PQl,                             wh_lclfpaym_en,t is owe1:t         _ .
                                                                . ,• ., .29
                                                             .      · :, -98'06Q




                                                                        EXHIBITS

                                                        '              .
33c18170191ti4WPSD4WLB Received 6/19/2018 5:08:40 PM (Eastern Daylight Tline)
        Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 36 of 48
   73RFECS                   6/19/2018 5:08:41 PM PAGE 42/056      Fax Server
                                         EXHIBIT A

             ·'




     C'\
     er
                             DEAffl, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE AND
                                  .        LOS$ OF _EARNIN(;_~ COVERAGE    .
                       DEATH. DiSMEMBERMENT AND LOSS                            Dealh, Disniembctment and l.qss ofSlpt
                       OF SIGHT COVE$L\GE    .                                                Beoeftts Sc~edoJes
                       Thi$ policy _pn>vica,. P~~ ~etnbemieot                  If the amount ~ on:lhe Oed~~ PSI
                       111\d 1,.055 ~f-Sight ·cov~ if ''S" .is sho~            ror the lRsfli'tl/ ls·S~,()Q(). then ·, ~ will pay
                                                                                ppllcable benefit shown below for ·death or fi -
                     . under "$YM~S" on the Declarations_,.._                  . e destri_bed dismet1'bennenl.or pem,an~ .·
                       Addlfcional -l)c(lnldon                         ~~- .,             '•         .      .        .     ..

                       Jnsurtd means a persop whose ~ is sbown         ~lb              . .                              SS,O
                       u11!fer ..D~th, D.lsm~f;¢nner,t and ~ or Loss_o( both hands; both feet; al                        SS.
                       Sight Coverage - Persoi1s Insured" on .the ~- , ght of bolh ~ one hand and
                       laratioris Pag~.                              · · · :foot; -or om: hand ot: .¢le _root
                                                                           all sight ofone. ~ .




     A
     \!$:)




                                                                       EXH.IBITB

33c1817019165WPS04WLB Received 6119/2018' 5:08:40 PM (Eastern Daylight Time)
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 37 of 48
     73RFECS                                    6/19/2018 5:08 : 41 PM                          PAGE         43/056           Fax Server
                                                                     EXHIBIT A




       A
       \:l)

                        LOSS Of EARNINCS COV~(V.GE                                    Subject to lhe workweek limit. the most we
                        This. poll~ provides Loss.of ~ings Cover-                     ~II pay -,iy.o·ne /nsi11ed for all Joss ·of Wllkly
                        age sf"Z" -1s shown under "SYMBOLS" on the         ~timlnp dueto aoy one accident ls.$JS,000; ·
                        OecljU'ations·Page.                                We will pay once every two weeks the m•
                        Addltloolil Definltfo~•                            Sl:lred's ·ioss :<>f111eelily earnings ow~;. ·
                       -1~1,ed mew a penj>n whose name ,s sho~n Eu1111loas - · Dtllth, Dismemberment and·
                        uniter "'1.oss ·of Earrtangs .Coverage - Persons · Loss of Sight Coverage aad t,oss of Eamhlp
                        Jnsured"- on the Oedaratlons Page.                 Coveragt                                   ·
                        Total /)lmlJBtty ~-eans the Jnsund's .l~ility to DEATH, DISMEMBERMENT AND LOSS
                        ,YQrk, either tµll or ,part time. in his or her occu- -OF SIOH_T COVERAO& AND LOSS OF
                        pation _or any other simliar occu~tion roi- whlcb EA~INGS COVl$RAOE DO NOT APPLY
                        h~ !lf she is ~i'lllbly fitted by ed~on, tmin- TO AN ·lNSlll_lED:                       .
                        1:t& or~peti¢ncc.                                      I. WHILE IN ,THE COU.~E_.AND SCOPE.
                        W«ll1, -~      meB!'S 8_S%. or ~I ~lngs                           OF HIS OR HER· EMPLOYMENT IN -A
                                                                                          cµ..Bf!S}NESS;           . .. .                 .
                        ~or Ule Inst,~-setvtCCS ~f~ any deduc-
                       _::ned~ ,=$="!fa=:!ii,t;
                        u.sed, The average 1s 85% of the total eanil~
                                                                                      2 WHILe OCCUPYING. LOAOJNO, OR
                                                                                       ' UNI.PADING:  .      '
                       ·for the S~ weeks just prior to the. atc::'ident di-              a. AN EMERGENCY VEHICLE IN
                        vided by 52. '.      .                                                THE COURSE AND SCOPE OF HIS
                                                                                             .OR HER EMPLOYMENT;          .
                        Insuring Agreemnt
                                                                                          b. A . VEHICLE, OTHER TI-IAN . AN
                        JIit will pay.__the lmuf!d his ot her loss of                         EMERG£N~Y VEHICLE; WHILE
      G:'\              week(,: -'~i!''!',s; w_hic:h _
                                                     QCC:ur will.le ,_tJ,e /11-              ·usED IN :JiiE:                       " ''
      V                sured,is hvmg. due to continuous total.~
                       IIJ•lhat:            .               .          ·· . ·.                ( I )'INSURED•~ J3USINE$S;·O.R
                       I. is.-~ -  4t~t   ~•~ of bot/jiy WWY.~~                               (2) COURSE AND $COPE OF HiS .OR
                           l>Y·!lll tcc;ldent.tllai involv~ the use of a                     ' . HER: EMPLOYMOO rN ornm
                                                      any
                          ·'!md ~t<>r·vef:-,cli: 9r ty,ie o( tra~Jer ~                           THAN AC4.R li!)siNESS. :·
                        . - a velucl_e and ,not due ~ 8'1.Y o,lher cause.-
                      . - At ~ ' tjme_. o(Jhe acch.fegt~ Jbe. l1'fll_red                     ·This excl~lon (2.".). ~-~ not· jij,ply if
                       .. m~ be ~pylnt or-be struck as a JJ!tle,,,                            the,~lc~ is api'lwtteJIIUSellgei ~r;
                            trla_n l>y .. r.:rul motor vehicle·or .imi rv,i;;..          c. . AMU...!TARYVEHJCLE; OR'
                           _of trailer; aijd . . · '              -•i ·n--
                                                                                                            . . ,, ·r....
                                                                                         ct.... -A VEHICLE. WHILE     r 1s:, - .
                       2. ~ :wl*fu 20 -~YS lmmeqiaiely M~w.,
                        , , lng_tfie d11te ot_tf!¢ ~deni and lasts for a                     (I)   f:JEINO-PREPARED FOR. USED
                        . P,Cri~ ot~.least  ,.ocpn~udve c;tiys:··we ·
                           wtµ not:pay forilieJ1m seven ~Y~ oflhe
                                                                                                   rN PltAC'nCE ~ OR OPEfl;.
                                                                                                   'ATEt> IN ANY R.AQNG ·CON-
                        . 30day·penod. . .                       .                                  TEST.' SPEED- CONTEST.' ·HILL~
                       timft                                                                       C~IJINO. CO~ JUMPING
                                                                                                                   '




                       The most w~       will pay ~y-one bm!redis: .                               CONTE$T, Oil ANY· SIMlLAJf
                                                                                                   CONTEST·        OR .            .
                     . I. $250     rot  run. workweek
                                    each·
                       ·: blllty. and , ,       ·   _. .,
                                                          ortotld dlsa-
                                                               ., · .
                                                                                                      ,, . , . : I, ,

                                                                                             .(2) 'ON A TRACK DESIGNED· PRJ,.
                                                                                                   MARILV f'OR .. RACINO OR
                       2.: ·a pro ~ porti911 ,or s2sp (Qr ,~ ~ ~                  ·                HIO}~~PEl;Q I;>RIYINO; This
                        · full "'o~k oftot~I disa~(JJG,.                 -                         ex.clll!!iot1 (2.d.(2)) ~ not-apply
                                                                                 31
                                                                             -9~~8-


     .1m·
     Ci)




                                                                        EXHIBITB

33d817019166WPS04WLB Received 6/1912018'5:08:40 PM (Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 38 of 48
    73RFECS                                   6/19/ 2 018 5 : 08:41 PM                      PAGE        44/056             Fax Server
                                                                       EXHIBIT A




                                 if the vehkle is being used In con:-                      THE ACCIDENTAL OR INTEN-
                                 necllon ·with an ·activity other lhan                     TIONAL DE'TONATiQN OF~.OR -~ .
                                 racing. high-speed· driving, or any                       LE?\SE OF R,/tDlATION FROM, ANY
                                 ,ype ofct;,~petitlve 4.riving;                            NUCLEAR OR RADIOACTIVE OE-
                                                                                           VtCE; .                   ..    .
                       •~· WHILE OCCUPYING, LOADING, UN-
                           LOAPJ.NG, ·oR .WHO IS STRUCK AS A                          c. THE DISCHARGE QF A Ft~RM;
                           PEDESTRIAN BY;                                             d. EXPOSURE 'TO FUNGI;
                           a. A MOTOR VEHl(;~E THAT R!JNS                             e. SUICIDE; OR ATTEMPTED SUI•
                              ON RAILS OR CRAWLER-                                         CIDE REGARDLESS OF WHETHER
                                   TREAD$:                                .                THE JNSURED'WAS SANE OR IN•
                            b. ·A MOTOR VEHICLE 1'HAT iS DE-                               SA'NE;O~                             .
                                   ·s10NEO FOR USE PRIMARILY O~F                      f.   DISEA..SE except pus-fOfffllng lnfec.-
                                   PUBLIC ROAOS WHILt OFF PUB-                             tion due ·io bodily ln}llr:, ~ined i_n
                                   LIC ROADSfOR                   .                      the ~ideriL
                            c:..   AMcrrQR VEHICJ,:._E~ANY TYPE                  Oal." Piyme~t _Option;          - Death, Dis~~•
                                   OF TRAILER, J!ITHER: OF WHICH··· ber•eat .and Lop or Sight Coveii)gc aid
                                   IS LOCATED FOR USE AS A Loss of Earninp Coyerace
                                   t>WeU:.INO OR OTHER PREM~ Wi may, at Qli~ opllon. make paymerit ic, 9ne
                             ·ISES:·OR                                           or,mpre of the following:·
                        4: FOR DEATH,               OISMEMBERMeNT,               I, Th~ilnsund;
                           •Loss oF s10Ht ·0R rork DISABIL-                      2. The'liisured!r swvlvi~, spoose_; . ·.
                            JTYTHAT RESULTS FROM: · .                            3. A ~nt or gQArdian otthe fns,u~. ·if-the
     ~
     \;d                    a. WAit OF ANY KI1'1D;                                   inmred is a minor.or an i!l;Colripete~-p~r-
                            b. NVCLEA_R·ilEAcnQN; R>,\DiATION                         sii!r, or
                                   OR RADIOACTIVE. CONTAMINA-                    4.   A pmon ,or       ~rganimtiQn authorit,ed. ;by
                                   TION FROM ANY .·$0URCE, QR                         ~w to ~Ive~~ -IR!Yment.•   •
                                                                                                                                  ·   l




                                                                 INSIJREQ'S DU1_'1~
                        1. Nollce to:tfs ~ran.~cdddt .,...~ ··                    d. .the names :and addresses of witnesses
                             The ln,ured m~. give 111 'Or One' o(_our
                                                                                           tothe:- ~-~ identQr,.:         . .....
                             agen_ts notice of the ac~ident or ·/tm as      -2.   Notlcc      ~ Us o.ra Qah'Q qr. LawsuJ,t ,
                           . soon as reasonably possible. The notice              L ltJ ~,lalrn. l;s made qalnst:an Insur~.
                             must ~ve as: .. ·                                           ther1 that lnmN!d mUS1 lmme~Uately-
                             a. ~ ,_name;                                            .. ~ us .every d~and, ~lice~ ~
                                                                                        .claim received.          ·
                             b. th~  names   and addresses .ofaJI ;e,nons
                                                                                . b.     Ii' a  lbws~     ~ illed against  an t,iJJired,
                                _lnv~tv'e<! in the acci~nt or loss;
                                                                                     .. ·then that ln,wred m~. lml'!lcdiaiely
                             ~- the ~ . date, ~cc;, ·l:lnd fru;ts Qf the                 send as every summons-and JWll pro-
                           '     ~ i ~_or/oa;~               ,                           c~ ~tved. .                     ... , ..
                                                                          32
                                                                       '9&06Q




                                                                        EXHIBIT B

33c1817019167WPSD4WLB Received 6/1912018' 5:08:40 PM (Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 39 of 48
   73RFECS                                       6/19/2018 5:08:41 PM                   PAGE         45/056            Fax server
                                                                      EXHIBIT A




     A
     V
                           c. If the lnsuNd's whereabouts for ser~                Subsequent carn;ellation or nonrencwal of
                                 vice of process cannot be determined             this pollc'/ does· not release or dlsch~
                                 though Je11Soruible effort, the Insured          the named·insureds shown on the Declat•
                                 agrees· to deslgnal~ and JrreV9Cably             tiOl'!S Pilg!: or ~Y other /Mflred from this
                               . appolr,t as as .Ute ag~ of~ l~ured               duty for a claim or la"'suit ~~e against·an
                                 for ser:vice. of process,. pl:P,adl11gs; or      lnsumJ which resulted from .an accident
                                 !)lher filin~ In a civil action broughl          tha1 occurrecf' dunn: the p01icy period.- .
                                 against. the Jmuml or to which the 4 IDSUrcd's Duty tQ Coopc:nte With Us
                                 lmnr:d has bee" Joined as a ~efend- ·
                                 ant. ,,, TCSpondent in any Co~rado               a. The l1tS11rtd must cooperate wllh us
                                 court If.the cause· or·act1~ C<Jncems                   and. when asked. '!,5Sist ~ in: · ·
                                 an incident ·for which du!' lnmrt!d WI                  (l) mliki~ settlements_;
                                 po$Si&ly ~lnim COVffll&e. S~uent
                                 termi~tlon of the l ~ e policy                          (2) secu~ng and gi_vlng evidence; ~d
                                 d~ not .affect .the appointment .for in
                                 Incident ~t occurred when'the policy                  m      attending._ and ietting witn~ to.
                                                                                              attend, depo!$lt1~s, hearings, B11d
                                 was in ~ffect•. ~ Insured agrees 'that                       trials.      ..
                                 ~Y such· civil action may be com-
                                 menced against the ln.ru~d by. the ser-          b. The lnsn~ li!usi not. except at his or
                                 vice of process upon ui m if ~o~                       her owp c:ost. volunta.rily:
                                 service had been.made cfirectly qn the                 (i) mak~ _    llly payinerit 10.others; or
                                 lnsiJrd. We agree ·lo 'fonimd all com•
                                 munlcatlons related to service .9f pro-                (2) !Wjlme any O~iga,tion to oiben
                                 cess to lhe f as.t-known e-mail and                     unles$ authorizid by -~ t ~ ·o f lhls.
                                 1naillrig ilddress.qf th~ po1icyhol4~ .In              J)olicy.         .        · .     .        .
                                 ~~ ._to: <:0~Jnatc; m.11 paym~t' ~r
                                 elllims or
                                 9iiircf      .. defense
                                                  ..     of. c:lmms
                                                                 . . tha1 ue .re- c. A,ny peno# Oi': mgtm~tion making
                                                                                         claim underml~ ~lic:y must. when •~
                                                                                         reqlilr.e, give us p~f of IOU oil,fOl'!1JS
                       J.. D~tttQ'Malncai~ ~cldresii or~~.                               ~furnish.
                            All hnmed lnsu.."eds shown on the'Oeclara-
                                                                                  Qaes&nin~ l)pder O!lt~
                           tiims Page a(1(i each '"'""" gail)st w&;l'!l .s.
                            a cla!µi ot ~w:st!lt i,i ~ ~ an m,:gol,-ii             Under:.
                           d!# to iruliniajn an ,d_dress o f ~ with                L Llnbliity Coverage,     each      Insured;
                           us ror the entlffl -lime period durin& which·           b; ~lt:al '1ayments c ~ Unin-
                            we  ~ .iequ!tec,t'"to .P.'O"* coverage :or 4:e·              sured Motor Veh!i;k;· Coverage, Unin-
                            f(n4 ·~n 1~11:re.tl ·tor any claim ~ taw.s~L
                           ·Eac;h ~dress.ofrecotd),rovid~ for "1 iii-.                   sured M~ot· Vebj~ -~ rtY, P,~e-
                            su,reil tn~ be 01"! whe~ .that w,,~~                         Cov~          [?e~h. .?ismembement ~nd
                            whereaj,outs ~ - tie de~l~. through                              or
                                                                                         l,;os,-     Sight Coverage,_Qr Loss of
                            reasonable effort and throuaJ, which ade-                    EaJitlnp Cov~g~ •h ""1lttd, ~
                            q~te ~munf~lfon ~                       -djaj. lnntid        any ,other~· or orgitn~on mak:·
                            and us. can be. mab1tai~ to properly·de-                     in$'.clatm or see~lng payment; a¢ . .
                            fend, cootdiilato (Jll)'Rlent. ·or mr~ ~'             c. ~c{ll Oa1'1age _Coverag~, each ln-
                            limlnd and lhc n!lrtled insureds shown ,on                   m"d o.r owne'r of , i:f?~d Vt!hicle,
                            the ~lan¢ioris .Page of ~ P.rogri!iss of                     o·r any other .µrst11i or oriJaniZ!JtiQn
                            any s~h
                                 '  ..._...
                                            claim
                                             '
                                                  or  lawsulL
                                                     ...
                                                      ~
                                                                  ·                      maldn,g    claim of seeking pay~~t;
            .. ,                                                           . 3,3
                                                                       ,· ,so6B

    ~
    @




                                                                       .~HIBITB

                                     .                                   .
33c1817019168WPSD4WLB RP.celved 6/19I2018'5:?B:40 f'M [Eastern Daylight Time]
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 40 of 48
     73RFECS                  6/19/2018 5:08:41 PM PAGE 46/056       Fax Server
                                          EXHIBIT A




      0  .
          .

                                                ,.
                             must;_,at or,r option, submit ta: an examina- · 7. Otlaer Duties Under Medbl .PaY.Jllents
                             tion under oatli, ·provide a statement ~            Coverage, Uidn~~ Mo~r ' Vebi~
                             oath, or do both, as·~             ofteinss'we      CQVll'.3ge, . 1;Joiosote1;1 Motor v,~1~
                            .reql!i~: ·Sue~ pUS!fn or organ~lon must             PropertY, ·Du:wge Coverage. ~th,
                             answer questl~ns ~ oath, ~ed by.any-                Dfsme~b"°ment and [4ss or Sfpt eov.;
                                                                                .en1ge, and Lou otEilnlap Col'ffllge
                             ~ -~ name, and sign t9pl\:S of Ifie a,n,-
                             s,vers. We may .iequln= each.~ " or                 AjHnon·making cliill'1W1det:
                             organization ~wetjng: ~oqs ~er                              a. ~ ~ -~¢n!s Co~· \Jnlns~
                             oath to '8115Wcr the questiorµi .,vlth only ~ .                Motor Vehicle <;overage~ Oeadi, Ois-
                            pUSfJn ~ or ~rgani.mtion's legafn:prcsenta.                     Difmbemrent and    ~oss
                                                                                                                 Qt Si~ Cover-
                                    ~ v e s , ~y per:s,m l)I'
                             iive,-~~                                                       age. cir Lossof~np c ~.must:,
                            ~ns 'designated ,by tia 'to reco~ ihe                           (i) !\Otlfy ,a_, of'the ~laim aqd.:gi\'e us
                            q~ions. arid answers, :and ~ odu~r.·~,-                             aWthe ~taJls about the death, injµ:.
                            ion present.                                   · .                  ry~ treatment. arid other Infor-
                                                                                                mation that we m~ .need as W.0/l
                        6. Othe~ Dll~ U~der ·the Physical i>a!d-                                ~ rt=aSO~ly.~il:ile .after ~he 1.~
                           age: Coverages                                                       Jµred ltjSured ·Is 6rst exarnlned or
                           Wh~ :~~ :is a Joi$, you or ~ o ~ c;,f                                ttca,~. for the JnJurt, If ~ /n-
                            ~e cow!iid •tlilc(e must:                             .             suiitl 1s unable :lo give u.1 119~~.
                            .a. . protect ~ COP~ v_thl~e from addi.
                                                                                                then any otJ:ier pt:rSDil may give'"~
                                                                                                the required notice: · ·            ·
                                  tional ·damage. WI!' wt11 pay &!lY • •
                                  sona~lc expense incurred to do so that                    (2) be eic.amlned. u ~ l y olb!n as
                                  is re~ed to us;        ··         ·                           •~ may ~-w b .pftyslclm choirert
                                                                                                             ur, 7
                                                                                                8Jid palcl' by     copy of~ rq,ort
                            .b.    make .!J prompr       report to   the. police                wjJI ~ sent to the pmtJll tipc;,n wril-
                                 when the./o~·is the result of theft;                           ten ~
                            c. al~w us to:                                                  m   provide. written authorization for
                                                                                                us to obtain:
                                  .:<~)
                                     i~~f ~ damaged_p~perty be-·                                (a) medi~ ·bllls;
                                     rqi:e ltsrepalr~r~;-
                                                                                                (b) m~~ records;
                               , ()) ~ ~y.'wt or equt~ent b~fo.re
                                     that Part o'r ·eq1:1lpm~t Is ·removed                    · (c) ~ • sa.~•-~~ e~pk,~~J
                                                                                                     information;·~w
                                      or.~~~
                                  (3) ,nove :die ctmnd          "'"'ch
                                                                 at rm,
                                                                                                Cd) aw·other   mfonn.        111edee!fi
                                                                                                             . to. sub.stnntinte
                                                                                                    ne<;ess,aiy
                                                                                                  . claim.            .      .... the
                                                                                                                                   .
                                      ~xpense ~ ·prder to ·conduct SUfh
                                          inspectfOft or testing;·                              Jr an iriJUi'e<! UISII.~ Js ·• "1!gor,
                            cl provid~ ,u !Iii:                                                 imablc:.'to act, 91''dead~~hen his of
                                                                                                her legal ~~titive must pro-
                                   (i> rcconhi                                                 ·vtde us with the wnttenauthom.a-
                                   {t) r~lpts; lµ'ld                                            Ji.on.                           ..
                                   (3)    iri~!c:c;s                                            If the holder· or the Information
                                   that ~reqi,iest.arid allowmto ~                              ~fuses Jo provi~e it to a, d:espite
                                   copies;-~ . . .            .  .                              the aiithor1Z1Jtion, theij aJ :out re-
                                                                                                quest the Jiu.soil making c~!m ~
                             e: not
                                .   abandon    . covemliidl.lde
                                         •:. die          - .. . to us
                                                                    . •.
                                                                      ,            '            ~Is p_r her    •~~     rq,s:i:~~i~.
                                                                             ' 34·
                                                                                 98068




                                                                          · EXHI Bl_j B.


33c1817019169WPSD4WlE Received 6119/2018 5:011:40 PM [Eastern Daylight Tline)
       Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 41 of 48
     73RFECS                                       6/19/2018 5:08:41 PM                    PAGE             47/056               Fax Server
                                                                      EXHIBIT A




       A
       V
                                         rnust ·obtiln the Information and               '( 4) make a ~pt A!P.Qrt to the PQl~ce
                                         promptlyprovide tt to11.r;  and                      when·tbe·lors is thtr result oftheft;
                                   {4) al~w f!.S tc> Inspect t~ vehicle lhat              (S) allow a.r·to:
                                         the Insur.di/ occiipkd in the acci-
                                        .dent;     ._                                         (a) inspect-any da!M$ed property
                                                                                                   befott its _
                                                                                                              re.pair or dt~sal;
                                b, Uri.insured Motor Vehicle Coverage
                                     ~ust:
                                     (1) report a,i accideht, involving a 1110-
                                                                                              (b)   * -~
                                                                                                       ~          ~r ec\!JI~:~ ~
                                                                                                   fore that"part. o~ equipment Is
                                                                                                   ,entoved.or repaired: and
                                      . tor yehicle. whose owner and ..driv-
                                         er remahJ unknowrr, to tbe _po~lce                   (C) f'10Ve lhe ~ W!~icl~ at.
                                         '1li~ri 24 hours and to ~s within                        ·011r e ~ in order 10 con-
                                         JO C,ays; and                                              :<klci such Inspection or testing;
                                     (2) ·sen.d lis Jmmtdiately a copy of all             (6)   provide ui all:     ,
                                          lawsuit  F~     if~ lnsnre.d_ files                    (a) ~ s .
                                          a laW$U1t 'against die party lia~le.                  ·(b) receipts; and
                                        .for ~ _accident;             ·
                                C.   Uninsureci :Motor Vehicl,e Property                         (c) invoices
                                     Dam~e <;ove~e ~\1st:                                       tha1 .,~ request and allow us. to
                                     0) report 811 aci:ident to f!S wlt~ln 30                 make copies; and                 '-
                                         da~                                             (7) JlOt abandon tl\e covend Vt~ldfto
                                                          ely ~ copy of all
                                     (2) S:Cnd us lmmedlat_                                · us; and
                                         lawsuit     · rs if·the lnstind files       d. L9ss ofEami~. ½c;,v~ge must:
      ~                                  a lawsu&8~~ lhe 'pariy"ll~le                   ( t) m~e a1:laitn \lnder this poticy;
      V:!JI                              forthe~I~; . ·
                                     (3) proteet 1he' CtJ~d vehip~ from
                                                                                        (2) repor!f to~-when that person ~                a
                                                                                             t~ald/,fal>Ulty; _and
                   I   •               . additio~ d ~ . JJit will pay
                                         mr· l'ea!i6nable · nse Incurred to             (3) pn;v"i¥ f11'!>Qf ~f c~tlnu~ 101a,
                                        11lso:     · · -~: · •··              -                 dlt'ablllg      -~"ve ask   (Qt, il   .



                                                                   GENE~:TERM'S
                           I.   Wlien Cov,rage..l\pp~~                     2. Wb~ C.~•~g~ _Applle,
                                Th~ ·cov~~ges pr9vidl!4 by-tJJls ~~cy .ate    ~ cov~·;piovided by ~s ~licy ~
                                shown e>ifdie DeclaratJons·P*:ahil ~pply.            -s~owrt 911 ,1tt Oecf.-,.tio,ns Pa&e·~ apply
                                to ac~1~· ,a.t,cJ IDSµI that occu; during
                                the policy period; 1'J>e policy ptriod .is            to aecldents.and
                                                                                             .         losiis' that
                                                                                                                 .
                                                                                                                     occur.. ~
                                                                                                                              .
                                shown on the DetlaraUons Page ahd is fOF             a. in the Unitecl"Stat.es of America and Its
                                sqci:esslve .p ;ri~ o.f ii!( mo~ ~~ for-                 ternfurtes and ·
                                                                                            .. . . .~           fom;
                                                                                                                  -       . .
                                which.~~ ·~ Jum •is. )m.d, _~-
                                poli peritid, ~and~ndsa.t 12:01 A~                   b.. in Cartiid~ Blid
                                Sta~ Time• the address shown on: the                 c. ~hil~ a, vehic~ fqr whk:h ~ is
                                bec1~i~ns
                                 .      . .. '
                                              Page. · · · · _. ·.··
                                              . .. ., ' :                               r,ro:v~ -~ lhl~ ~I~ ~ beinJ shipped
                                                                              35
                                                                            !1806B                    .;   ·~




                                                                         EXHIBITS


33c1817019170WPS04WLB Received 6/1912018'5:08:40 PM [Eastern Daylight Time]
          Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 42 of 48
   73RFECS                                    6/19/2018 5 : 08 : 41 PM                PAGE       48/056           Fax server
                                                                       EXHIBIT A




      A
      V
                               between the ports ot the United Stales               ~ Cornprehemive C~venag1t"aad Col•
                               of Ameri~ ii$ ~torie,s, its posses,.               lls~D Covenge provlsion of this ~!-
                               slons, and Canada.                                 icy ,viii be llmJtea to:~ cost to ·n:pair
                            Death. Dismem~t and Loss of ~ight
                                                                                  « replace the.co.P lffd vdrlcl~ in ·the
                                                                                  Unlte(l SIAlcs_ofA~erica.
                            Coverage, anctLQss ~r-EamJn~,Cove;rage
                          apply anyw~ _ln the wo,:ld~               ·           WB HAVE .NO DUTY TO PROVIDE A.
                                                                                DEFENSE FOR Y(Jlf- OR ANY OTHER
                       ~. Umltcd <;ov~ge bl Mexico                               INSUltED JNANY.CRJMINAl. ·cfVJL.
                          This policy does not pl'O\'ide Me;ijgin auto          :OR O'i'AER.. AC.TJON.   - ..
                          Insurance and     does~•    com_ply·wit!t M,exi•
                          caq auto insu1111\Ci:: rcqutrem~nts. IfJ'Dli o:r-
                                                                                 WE HAVE NO .Qlrt'Y. TQ PAY ANY
                          1111y other lniJ,tretl plan to dove in Mexico,
                          then autQ illl!urance provi41ng *overJ&e In
                                                                                 ~~i~ife
                                                                                       1
                                                                                        t~Wowirs    0
                                                                                                     p'b'LYc~J
                                                                                ·THS ACCIDOO OR .toss-_HAD oc:
                            Mex!c~ should·~ pui'chJlSed from a Mi::_xi--         CURRED IN nu~ STATE Of COLO.
                            can iM.urarice ~pany.                                RADO IN THE UNITSl STATES OF
                            Subjec_t10 theabove ~ p h , the,foltow-              AM'Eltl~A.              -
                            l'!iJ :Coverqes apply in.. M~co•. t:,ut pnly         All other policy provisions not in conflict
                           ·ror accidents and:fossa that occur in Mex•           with the provl,tons In th_~ Limited: P,v-.
                            ico within 50 miles of lhe United Siates of          erag~ hi Mako provision of this policy
                           ·America border ~ -~ty 'fof - ~ iis                   apply.     .
                            d!=fil\ed under each ~r ~ follo,vlng cover-
                            ages:      ..                                        IfOther Coverage Appf!i,a
                            a.   Uabuttr co\'.mge                                Any coverage,.provided by this t,lmltec;I
                                                                                 Covcnage in M~ provision is e~ess
     a).                         For clatms brought agat~ an b,spraJ             (?Vet ~ny other •liPlicid.ile insutatu:e.
     ~ -                         ln' Mexl~o, ~ Stlppleman~ry           ·ray-     Upl Attfo~ Agaiut'U.
                                 m~c, provls~or:, ·or this policy•~- ~ia-
                                 bUity -Coverage is.cNUl&ed to iiad: -          -Any I~ actl9n acnJ~.~~l)J Qut_o"t°
                                                                                 an. acc1d~-OI' Ins occl,IJTlng m M~~~
                                 ~ -'11AY, ln ~itlon to the ~maaes               rµust be· brought in a ~u,tt that h~ j ~
                               . des~bed in: ,tem 1.      or ~ Jnsatjng          diction ·in the state .of ColOnldo in the
                                .Ammeac of tflls po1'cyls L~lllb'                 United_s~ orAm~.ri.~ ·
                                 Gov~Ci P~Y of reunbiuse, -. qp- 4  our                                            .ea:r
                                 tlon, reaso~~le_~ f~ (or !If\ it~ • Newt, Owned ~r Newly Leased
                                 to~ licensed in Mexico .to· lip~                _Ifyou ~ t to !nsute ~ Cllr n~wly owndf
                                -~ -~- provi4e _advice t9 ltu'!Nd{as-             by~ with ~i:: $late FCll'l'lf Clln;p,mkfs af-
                                 c:f;efi~ un~ this pioficy•~- ~l~ilfty          ·ter ~ car c ~ io ~e • aewlJ aqul;nd
                                 C~vei:ate. ~e ~~- ~r such ~Qr-,                ,car,-thtn,011 musn:_ither:                ·
                                 ney -(ees·lnc~ ~Yan lnSii~must.                  a. niquc;st ~ --rep~ the Cl!' ~
                                 be. teP,Orted to· us before iPi wll! ..make          shown on the .O .CS~~ Page of ttus
                                p.i~                                                  pollcy ~ •- car newly DMiid·/11 yi,u
                                                                                      and pay ;is any added amount d11t; Jf
                            b.   ~~a.•.     Pi~eati Covel'.8~                        - · ma1ce· such ~
                                                                                    ~~-=•n~t . -- . . .     -while this po1·
                                                                                                                            If,'/
                            c. Pipil~-1Dsiaj!IF P,Yengo
                                 Any amCW\t. pay~blc ~ t1u; _repa\f Qr ·              (\) \>ef~ the ail newly ownal by .
                                 ~Ja~ement of the covut:d ,t1!!Jkl~                       1')~ ~ to.be a- nitt~ "liCtJil~red
                                 lffld# the ~Its ud ~ $ettfem~t .                         ';'Ir, ·~ ~i ~    ~t       ~ d./Jy _
                                                                             36                  ,·
                                                                          9806B




                                                                        EXHIBIT B


33c1817019171WPSD4WLB Received 6I19I2018'5: 00:40 PM [Eastern Oaytlght .Tlme]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 43 of 48
    73RFECS                                  6/19/2018 5:08 : 41 PM                       PAGE           49/056            Fax server
                                                                     EXHIBIT A




      @·
                                     ,,,,,, will be i~~ by this ppticy                           and LoS!I of Earnings Coverage. if a
                                     as yo,,r etu beg!nning on the dale                          named lnswed."i1hown on the Decla..
                                      the cor newly ownd t.,y ,au is·de-                     rat1ons Paged~ then the &erm1tion
                                     11.v~r:ed; to yaz,. Thi; _added amount                  of buureil under       each   o(the c:ovi:r-
                                     due wall be calculated based on                         ~ p~vid~ by ibis policy ls
                                     that~e;~              ·           · ·                   changed to lnclud~:
                                (~) af\er the -cat newly a~ed IJ.1 you                       (a) ooy pms,_li with lawful custody
                                  · .ceases to be a rie"'1y ilapi/red.mr,                         ofpr car, a iwwJ, qflll:et!
                                     ih?i ·thal -w newly owned·bi ,,,,,                           car, or a ta,¢.raty. "substltule .
                                     will be ll)SUJ'Cd by ·l hb policy as                         car ';J'llll ·1;legat repmtnaative is:
                                    your·'.mr beginning .011.the"date and                        _q~1fied; and th.en
                                     time you D_U!ke the ~uest The~~                         (b) the legal repn:scntntive of~
                                     ed ~~ ,due ~II t,e calculated                                ~eased named wurcd.:
                                     ~on~~ or .
                            ~.. apply to the    St.at! ,~~ Compar,les                            !Jtis
                                                                                                   oniy appl~ while such pmon
                               for a separate p1>h~ lo IBSure ~ ~                            1$ maln~ng or uslng your """• •
                                                                                             M1vi,. ~ired:.t;itr.-or a t ~ •
                              _newly 11wifeil 6j .V~• ~~ pqlicy wilt                             silbslltuJacat.,      '
                               b e ~ only If both tl\e ~lie~ and
                               the ~ehi~e aie-t:!i&!ble_ (or coverage at                     Policy noti~e tequl_M,ments ~ met
                               the um~ of lhe apph~tton.                                     by·-mailing the notice to the m~t
                       S. Chipiga, ton.ts to.liq                                             recent policy address. that we:have
                                                                                             on record ·for the deceased named
                          a• . C'b@$.~ iJt ~Ucy ~visions                                     insured. .      · · ·
                               We    mayonly-change the.pl"QVisions·or             :c.   Joint and Indlvldaal In~ts
     ®   .   .
                                ~~Jicyby:                   .
                                (I} issuipg a ~ d ~!Icy booklet. •··
                                                                                         tr jqu coo.5i$ o'f .m~,e ~ on, Jle."7'
                                                                                         son or entity, then each acts for all to
                                     revised O~larati°"5' Page, .or an                   change~ can.eel the poliq. · · · · , .                  (·       .
                                     eitq~ent; qr           ·
                                                                                   d. <$11n1e or Jtolky Ad~ress.
                                (2). ~sing th~-P.Qlicy to give b.J:oader
                                    ·· c(?vi:rage Without .an ~I~                        Jf'•·
                                                                                          may :~han#:,~ n~ed_:l'!Sute~1s
                                .     preml ~ ~- -•~~~~                                  p>li~Y-~      as $,h9wn e>n_!J!~ Dccla--·
                                      provid~-b)l th!~ PQhcy 15 di~.                     rations P~e imd In ourrccqrds to "the
                                     .to give·.br:,,ader ~ge, th~ .w                     most ~~t address provided to [Ii. ~Y.i .
                                     wi!I give you the b,roader cove~ ..                 ll) you;_or
                                     as ofthe ~te. •~ ~e -~ c!Jan~e                      (~) the United-States Pos~Se~icc_. ·
                                     effecdve in lhe state of Colorado
                                     witliout   Issuing .a.reyl$e~   policy   ~;   ·,remt.m
                                    · bo~et; a re~. Decl.emtions
                                . , Pase,or·a n ~ ~-        ·                      a. Vniess a s ~ ~ ,-vid~by an aJ.
                                                                                         temadve ,paymen! · an iri :effect ,viih

                                                                                               _&r:!~~~'!\,is~fn1
                            b. q"an~ of lnteres.t                                        the State Fam, tntlJianla with re-
                               "{l) Nochan of~irithispolicy,
                               · is eft'~ unless ·wt" consent .in·
                                    writing. .          .
                                                                                         ~,:l~
                                                                                         on or
                                                                                                                  ~{ .
                                                                                                         cf the pol!ty
                                                                                              ~fe>~ Jhe first day
                                                                                         ' .od shown on the most iecentJ lj;.
                                0) Exe• ~ ~ D ~ ·-                                       ~
                                                                                         . . .~larations
                                                                                                    · . •o.....     .. . y .'
                                                                                                              ._ or.Re~
                                     ment and ·um of Sight Co~ge                     ·, ·Notl~e.  ·                       ·
                                                                                                                                            •,    . ·.;       '   ;,


                                                                            37
                                                                         98068


    ~  -
    cy


                                                                      EXH1$1T f;3                                                      .l




33c1817019172WPSD4WLB Received 6/19/2018 5:08:40 PM [Eastern Daylight Time)
                Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 44 of 48
    73RFECS                                  6/19/2018 5:08:41 PM                         PAGE       50/056            Fax server
                                                                     EXHIBIT A




         A
         w
                            b. The ~~ pteml~m; for this policy                       premium ls lncotj'ec~ inco!l"plete.
                               will be ~u~~ ra1a in e~ the                           ch~ during the policy period, ·o~.is
                                cov~es earned, lhc.·appllcable fi;nlts.              not ·provJded to us w~ Nit' ask, then
                               "dedt.¢tibtes, and. ~ eleme!lls ·that af.             ,sir n;ay 4~ffi!SC or jncrease ~ P!'C'"
                               :feet -~ pmnium that apply.at ~ time                 .mium d~_ng the f>Ohcy period. If w,·
                                ofmteWBI. ·                                          dectease ·the premrum during ~e poll~
                            c. The preiniunt (or thls·pot~y may -vary               ·cy  ·period, then we will_provide ii re-
                                based upon:                   . . .                  fund or a credit in the amount of lhe
                                                                                     decrease: If 11-e Increase the premium
                                (I) the _ purchase of other pro4ucts or              during lhe policy ~~d. then j,ou
                                     services from the State F11rm                  'must pay !hc'om_oun1 oflhe Increase.
                                     Con,parder,         . .
                                                                           7. Renewal
                                (2) the pu~h~ of products .Dt' se~
                                 .. vJces from ,~ organ~l~n ~ has              We ~ to -~~w this policy for the JleXl
                                     entered into an· :agreement or con-       policy perfo9 upon payment oflhe renewal
                                     tract with the Statt Fann Cf?n,pil-       ~wn          when ~ue, unless ~ mail de·
                                                                              .liver Ii nonrenewal notice or a cancellation
                                                                                                                            °'
                                     ftl~. The Statt fariJ1 Compa,1/n          not(~ as set forth In 8. nntf9. l!eJo\\'.. '    .
                                     do notwarrant1he ~e~hantabllky,
                                     f~ess, or quality of any ·pfOOUCt 8. Nosareaewa'I
                                     or: service off'ere4 or p'1)\iided by     If !"1! decide not to ren~w this 'pollcy. then,
                                     djat orpnizaJion; or                ·     at , _ 30 days be~ die end of the current
                               (3) in agreement, concerning _the. i~-          policy ~od, we will mal), or cfc!~l\let-. non-
                                   . ~urance F.PVl!fed by this policy, .       ~ not~ to the~ -~                    (X!lic}, ad-
                                     that lhe State' Ftm;, Companies           dress that.~ Ii!'~ on record for the ·~
                                     bas with·in tlrgimlzatlon of whi.c·h     ·Page: who
                                                                              .insured      . .is shown  on   . Declaiaticins
                                                                                                          . .·the
     ·@
     '··~   ··,.~·
      -,:-. ..
       " "i"''                      n~.are a membe,;,einp\oy~ su\,-                                .               . .
                                    scriber, llteNCO~ or franchisee.
                                                                                 9 .Ci,!l~~d~n
                            d, · The · : 1um. rorlhis · ·u
                                 upi,n'ii,r~lipn wt       ~~c: n:cei~
                                                                is bA.1Cd
                                (rqni ya,, c,r. ot~ mun:~. · · ~ m~t
                                                                                  •
                                                                                   a. How Yoo'!Way Caned
                                                                                         •~ R,l~Y gncel di.I~ ~llcy ~ ·provid·
                                infq~· ,ij if any m~tiqn ~ g                             Ing' tQ us adv~ not~ce ofthe date;
                                the f~Jl9wing i5 l~~t ·or.•~~                            ~cellation is effecfiv.e~ We may con-.
                                ple<e. ~i' ~hang~ dudng rhe poll~y pe.                   firm ~ C40~~l~q•HiJ wild~~
                                tlod, ~ 1PI! m,~ ~ e f questlo~                     b.   ll~w and·wt,ea \Ve ~ay.Ola~l
                                1ve ask Jegjuding tl)e fQJlowing:
                                (l,) .)'o~,--~ ,. or its~ ~luding_an-                    We may cancei this policy ID'.ma,lllng
                                                                                         or delivering a written notice to' th¢
                                ,    ~t_iar.m H•; .                                      most recent spoliey. addms tliat' w,f
                                (2) The pe~onx who ~larly chive.                        have oli reconl •for the named insured
                                   · ypur cm. including newly.licensed                  who is -sh~ ~ · ibe ~lar,tions
                                    ·ramily mem~                                        P"age, The-notlet! wllJ •p rovi~ -~ dale
                                                                                        c&J)c.ellatiori ii effecti~e;
                                (3}: .Yaur. marital st-,'or
                                                                                    , · (I) if~-'1ta.il or deli_ver i:t ~llation
                                (A) the.  ~don      ·where ""'' ¢, is                       •l)Olite:             .
                                     ~arilygamged.
                                                                                            ·(11l during the -~       S~ .days fol-
                                If the abo~ info!'fflatloli or any otjiet                . . lowing ·ihl;. po\icy's e~ectfy~
                                informatl~ . !JS~ 10 -~.ine ~                                   . ~or              . , ..     .     .
                                                                            3S
                                                                         93l¥B


   -~




                                                                       EXHIBIT·B


33C1817019173WPSD4WLB Received 6/1912018'5:08:40 PM (Eastern Daylight Tline]
              Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 45 of 48
     73RFECS                      6/19/2018 5 : 08:41 PM PAGE 51/056     Fax Server
                                                EXHIBIT A




      ®.
      .   '


                                       (b) ·beet.use the premi~m is .not                l 0. Asslp8'1ent
                                           .paid when due,
                                                                                               No assignment of be.nefits or othet lfl!nsfer·
                                       iivewiJI    be.
                                       then Ille date aincellation .is e(f'~•
                                                      I.east tq days after~
                                       date M¥ mall or deliver the cancella-
                                                                                               of rights ~ binding upon us .unless ap-
                                                                                               proved by µs. ntjs d"6 ·not apply under
                                                                                               Medl~J Payments Coveiage. to a written
                                          tion notice.             ··         ·
                                                                                              .assignment ·of payment for cov~rcd ~ne•
                                          Otherwise, the dale :cancelladon Is                  fits by an lnst!rl!d in ac;cordanc:~ with Col-
                                          effective wi11 be at Jea5' .JO· days                 orado·Jaw.
                                       . after the date Nit mall .or deliver
                                         the cancellatfon·notice.                     .11. Bankruptcy os:- •~ol\lency'ot·t he Insured
                                   (2) Aft~ Uiis. poli~y     has      been In fore~            B~plcy or insol\'Cllcy of the /nsl(~ or
                                   · for mo~-llian 59 4ays, ~ w!U !'l()t                       his or her estate will not relfevc·us of 011,
                                         ~el this policy before the end of                     obtigalio~      under this l'Olicy•.
                                         .the cum:nt policy peri.~ wih::ss'.              .
                                                                                      -j. 2. ·
                                                                                             '
                                                                                               Cotceolment
                                                                                                       '   .      or Fraud,
                                                                                                                    .

                                         (a) the·premlum js not pai_~ ~n                       There is no .~ventgc ut1der· this poliey if
                                                due;                             ·           ,ol1.9rany other P41SO{I in~ured under ·rt1~.
                                         (b) JOU. any resident reJ.ali~; or                    policy has mad1= faJ~ statem~nts with lb~
                                                an · other' ~ ·        who i.lsUillly
                                            ~ ·J'::«                     ~~ in
                                               JOUr hoosehold has .had h1! or•
                                                                                               intent to concet\l or misreprescn.t any.male••
                                                                                               riaf fact or circumstance in connection
                                               ber drivcr~·license or motor v~
                                                                                               With any c~im qnder this poijcy.
                                               -hJcle ~             -under ~           J3.    'Our    Rlgli~ to ~ei:ov~Qur faymea~
                                            :,~orpcri~~~~~-
                                                • ~ d ~ its piollc:y pc..
                                                                                               Medical Payments Coverage, .Peath, Dis-
                                                                                               me.~ nt 4IJ4 Loss .of.Sight Coverage
                                            .nod            uo .~ ~-
                                                       or the                                  and ~ -of Earnings Co~~ pa)'merilll.
                                              . iueJy,before the eff~e d_ate of                                           us.
                                                                                               are ~ recoveraJi.le by· },Jnder aJI -~!her
                                                the policy;                 '                  co~ges \~ fo!lowti,g:apply:
                                          (c:) An applicant knowingly ~ a                      a. Subrogation
                                          . ,false stlllemtjlt on ~ app~                            If 111e lire obligated under th1' policy Jo
                                                don fur: this policy; or        . .·                lilake ·payrneijt tp ot Jo( a---penon· or
                                         (d) an ll1stud knowlrwy and ~i;.                           org.anliaiion who, ~ a legal right ·to
                                        •· f4tly ·~de ~ tarse material                              coll.~ f from ~other JH!!SO~ c:,r organi-
                                                stat.e in~t ~ 8 cl$,, S U ~                         zation, tl!en •~ will. be.St~ted-to
                                                ~       - ~Is ~Icy.        . ·                      llmt rikJt, to ~e ~leljl ofo(lr paymi:.nt.
                             c •. ~etarq f,tftJ'1eatnc4 Prenuam                                     'Jlul. pcnon.    ·QT orgai,i2lltiori ·to-qr_for
                                   lfyoli -- ~· i.his policy, then ~ l~m                            whom      ,ve  make   _piiytnent 111ust hetp·.us.
                               · rµjty be ~~ Ori I $ ~ rate basJ$, lf                               recovernr pay~~ by; -
                                 . 1,e caileelthls :potfcy, thert premh1in                          (1) doing ~ ill& t9 impair ~ legal
                                   ~Ube~o1:1apro~~. , .                                                   ri~t;             .      '
                                 . Any ~ premiu!D may ·tie ~                                        (2) e~ing,any_do.cum~ts ;~. may
                                   turi'ied within a ·reasonabte .Cline ~a: ·                             need to.~ r t t~ leea) fight; mid
                                   tariceUat(~ .~iw In ~ ·.ret~ ,o(
                                 · 11ny ~~(~does not .affect                                        {lj takirg :iegat actlo~' ttirough .our
                                   ihe
                                    . . cancellatiflit date.
                                        '           \          ,.   "
                                                                                                         .rep_!'esei1tati~es ~hen ii't.~.
                                                                               ,· . 39.
                                                                                 9,~s




                                                                              EXHIBIT B

33c 1s 110:19174WPSD4WLB Received 6/1912018 5:08:40 _
                                                    P M (Eastern Daylight Time]
         Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 46 of 48
    73RFECS                  6/19/2018 5:08:41 PM PAGE 52/056      Fax server
                                         EXHIBIT A




                            b, Relaibanement                                               (a) 1hree years immed~tely fol•
                                                                                            · lowii:ig the da!e of ~ - acci-
                                 Iffpe.niakc payment lir1Jcr:this policy l!"d                  dent;    or
                                 the ~ n e t ~ to ocfqr whom
                                 IV!r make payment l1!aMff or has l'CC9"-
                                                                                           (b) two yea~ ;inmediaJely follow-
                                ~ &om~~               -or Oi'glUlia.t!on,                      int; lhe-da!e tJlat the insured or
                                lhen d-epmon or i>lganmttion ~ or for                          ihat lns11red':r _f!lgal represerita--
                                                                                                tive:. .
                                  whomwmake~must:
                                  ( I) flold In ttust:Cor 11$ the procj:eds of                  (i)    ioioWS; .or I~ the ~_ise
                                         imy recovery; and                                       ·    of reasonable <(ill~e,
                                                                                                       should have known, that
                                  (~) reimbur$e as tp-.the extent,of our                               such owner or drivet Is riot
                                         payment.                                                      fOVered by any applicable
                        14. Legal Actii>a Against UJ                                                   1nsura!l4=e; ~
                            L,epl action may not be-brought against ns                           (ii). has filed a timely lawsuit'
                            until there has been.'full compliance with                                 against the owner or ~iv~ir
                            all .the ~ro~lsions of this· policy. In Qddi:.                         . oftfle Uflins~ mo~t ve-
                            tiori, legal action may ohJy be brqught                                    hicle; or
                            iy;ajnst nnegardi"I:                                       (2) for damages sustained in an accl-
                            a, Liability Cc~ge after ~ &m«!IJAI of                        ·dent wiih an lUlderinsured motor
                                  dam~s.ai:i h,$il,# is legally l_ia~le .l~                \lebicle . a(ler the Insured .oi .that
                                  pay has-~ fin!llly c;tetennilied by:                     l"f.11.re!"s.. I ~ rep~~ive pre-
                                                                                           sents an Uninsured Motor Vehicle
                                                      I   •   •    •

                                                         an aclwd '~ill. _anp
                                  (I} jud~ •
                                         any ~ of ddjudgm_~ lfany                          cov~           chiim to: tu' an4· riies ·a
     ®   .
         '                           · · llfl~ are~-~
                           . . <2> apemeni.~                  ·~c~m'!f
                                                                                           lawsuit in·accordance with the &-
                                                                                          . cfd~I  )!Anlt Jind i).inoia.'1t pro~i~
                              .·... ·,a.                                                   sio~ wi~ii'I. the l~et-of;
                                                                                           (a) three year.s fi:nriiedjafely fql·
                            b. M,edi~ f>ay~ts- Co~rag~ if ihe !e--
                               :gal action rel~ng t!J this cc;>v~ ·1_s                           lo\ving . ~~- ~e of the '1¢i~ ' '
                                brQught ·agnliist Iii' within ·rour years                        ~ _n t;or
                               . IJninedlately followI~ th~ d_Ble ·~ l}Je                  '( bl two YC!U'S immed}iiely follqw•.
                                iiccident.         ·    ·       · ··                          .· Ing ;Jie date that the lnsanll ()t
                                                                                                 that
                                                                                                   .   /nsilred'.f
                                                                                                          . .        ..o'"" tePn:seI!tj..
                                                                                                                   •lanal
                            c·. · Uriinswedl\1_otor·V~~le_CQv~; ·
                                                                                                tive:
                                  (I) r~ ~ ~~. i,; an~!-
                                       dent with' M uhlnsumt motor ve,.                         (i)   received   J)!lytneni of t~
                                      'i:li~- ~ ~ ··iiisu~ or ~ _                                     ·setttemd'lt QI' judgment in
                                      ./nsun,t,.'jega1 !'.f!~nI~iw pre- ·                             t~e llfld~y~g l)odtlyJnju•
                                       sents an UnJns~ 'Molor V~~e                                    ry l~Uity•~1a1~ 8'lif -
                                       Cov~ claim to us and lites a                             (ii) has Died a timely lawsuit
                                       lawsuit in ii°~c:e with the°~ .                               against 11M; owner or driv¢r
                                       cldtn1{Fitult 11~_-Ainoaiic provi•                            of ihe underinsured motor
                                      .sion wi1hin tfuHater.~ f:                                      vetiid~.         ·

                                                                          .      4t)
                                                                              9806B_




                                                                        EXHIBIT B


33c1817019175WPS04WLB Received 6119/2018'5 :08:40 PM (Eastern Daylight Time]
        Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 47 of 48
    73RFECS                                     6/19/2018 5:08:41 PM                        PAGE       53/056               Fax server
                                                                     EXHIBIT A




                                      l;xcept in lil;cordance with ~e:J>e..               provisi~ titled Consul .to Settlement
                                     -~~Ing Fault and Amount proYi•                       and Dedding_Fault•~ Amout.
                                      slon. liQ c:i~ legal acl.iofl may be             e. Physical Damage Coverages if the le-
                                      brought against us rehUlng to Un-
                                      i ~ MolQr Vehicle Co~rage                           gal action rel~ting t~.tJi~.coveraaes Is
                                    .. ror any othtir ·causes ofilctloti that             ~ght against u~ within one· y~
                                      arise out of or are reJaied to this                 nnitjediately fqllowmg U!e. daie. of the
                                      (:QVer&gc qndJ· lbore ~ b_een full                  1JCCident or lrm. ·
                                   C«Jl!lJ)lia~ w~h. the P,MVisions ti•          15. qt,>l,ce or Law
                                   tied Consent Jo Settlellleat and                  Without regard to cllqice: of law•rules, the
                                   Deddhia P111ilt _Hd Amount .                      law of.the stale of: ·      .
                             ~. Uninsured Motor Vehicle Proi,erty                      a. Colorado wiQ.~tro~:except as:~ -
                                Damage Coverage -1\er the: lnpired or                     ed In b. below, in ~ .eYCnt of·any dtsa-
                                ~ l(lsurtilt legal rep~tive pre-
                                 mu an         Uninsured Motor Vehicle·                   ~          BS     lo :the ~ n mid
                                 Property Daritige ·cov~e aatm to                         8')f)tlcatton or any provision in this pol~
                                                                                          f,;y,'•and         . .
                                 ur and· flies a lawsu1, 111 ~ e ·
                                 wm~·the Deddllll Foult uid AmOl!Dt                 .b. Ulit10ls will control in.theev~·of!!Qy
                                 provision o'f the invol~. co~.                         ttlsagffem~t as .t~ the iqii:rprc~ion
                                 withi.n ~ ijte; of:                                    and appllc~lot'I -qfthis pollcy'J:    ·
                                 (1) three years immediately following                  (I) Mi.dual Condltloni piovbion. (o~
                                     ~e, ~!=-qflhe accident: .or                            Ofl the most l'eC!:ntly -issued Dec-
                                 (2) two y~s limrle4lal_ely following                         l~tJons ~e,.lf~ policy _w~
                                     the date ihaf lhe ln111nd or lhal in-                    ~ by the·State t~ Mi.i!'Jal
                                                                                              Automobile lnsunince <;:ompany; ·
                                     ~~'s tegal:,epresentati_  ye;· ··                        or       ·.                   . ...
                                     (a). kno~s. or in lh~ ei¢rc~~ of
                                          ~orulble diligence,· ,soo,uld
                                          ii.av~. knm.vn; tha:t ~h owner
                                          or driver is not coveJed by any
                                                                                           . a::~~ ./or-~.°&cl.
                                                                                          (.2) P · · · . Pol"
                                                                                              lions Page 'If-this
                                                                                                                        . . ••     ~ ·

                                                                                                                            'was iSStiecl
                                          appliciibJe I.~ ~ aiid .                            liy'   : i i u ~- or;~ ~' of~
                                                                                              S~.,.lirin t.,tuiual·A~bl!e In- ·
                                     (b) :~ . Jileii a iimel,t .'i{!WJuit                     ~~~-
                                          l!gDinst •~ owner or drfyer ~f         1.6 . ~bllity
                                          the ,,,.,litmttjl.m'olor Pdtlde;
                                          or                                       . rr ~, ~lsl~n of Ji!~ ~!_icy IJ ip.va.  .~tJ
                                 Except·iri.~            with~ ~~g                 · lid Qr ~f~bte by-~.co~. tfµij has ju-
                                                                                    i'iscfic:~ .t~!
                                               . .. · be =·-· ·C!ll..
                                                                                                                              .
                                 lFault  aad Amount
                                    - . actlon                   · rlO• otbcr
                                                                            us
                                  ~ . lD ~--·,.j.
                               · refalina      vnu"""~ .     Motor~ie·
                                                                .       . .. .
                                                                                    a. such provl!don wi.il n;~ait1 in full forte
                                                                                          to the·ex:tent not'hcld invalid or un.en-:
                                ·Property Darrt!I# Coverage for IP)'.                     (o~le;.aoo,         ·            ·
                                -oiher causes .of action that arise out of
                                 ~ ~ 1':'-d to ~         :~ ~.unJi!                . -~. ;all olhi:r provbi~ ofthJs.poUcy will
                                 the.re hU ~ir ~II ~Pll ~·with tiie                     . ~main v~id ~d ~fo~;


                                                                                                                '   .
                                                                           .41.. . .
                                                                          98068




                                                                        EXH18.IT B


33c1817019176WPS04WLEl Received 6/1912018' 5:08:40 PM [Eastern Daylight Time)
             Case 1:18-cv-01779-RPM Document 2 Filed 07/12/18 USDC Colorado Page 48 of 48
   73RFECS                       6/19/2018 5 : 08 : 41 PM PAGE 54/056  Fax Server
                                               EXHIBIT A




     A
     \J.;. 1




     @   '
             .




                                        .            .            Polley Fonn 98068 ' .        ..        .
                                         Cl, Copyrisht, ~-ff4ffll. Muil!il Autom(!bilc lnsuran~ Co~y, 201 J·


    ~
    \gj



                                                                      EXHlBJ''r·B


33c18170.19177WPSD4WLB Received 611912018 5:08:40 PM (Eastern Daylight Time]
